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 1                    UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
 2                         SOUTHERN DIVISION

 3   UNITED STATES OF AMERICA           Criminal No.     PWG-13-0100

 4            v.                        Greenbelt, Maryland

 5   ALI SABOONCHI,                     August 8, 2014

 6                  Defendant.          11:00 a.m.

 7   --------------------------/

 8                           TRANSCRIPT OF TRIAL
                       BEFORE THE HONORABLE PAUL W. GRIMM
 9                   UNITED STATES DISTRICT JUDGE, and a jury

10   APPEARANCES:

11   For the Government:     United States Attorney's Office
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16                           Greenbelt, Maryland 20770

17   For the Defendant:      Office of the Federal Public Defender
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22                           Greenbelt, Maryland 20770

23

24   Proceedings recorded by mechanical stenography,
     transcript produced by notereading.
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 1                         P R O C E E D I N G S

 2               THE COURT:    We are going to bring the jury in

 3   now and do closing.

 4               MS. MANUELIAN:       Yes, Your Honor.     Your Honor, do

 5   you mind if Agent Lewis sits here with me at the table?

 6               THE COURT:    No.

 7               MS. MANUELIAN:       Agent Abagnale and Ms. O'Malley

 8   are outside.

 9               THE COURT:    No.    I don't mind.

10               MS. MANUELIAN:       Thank you.

11               MR. OUTLAW:    Your Honor, just to be clear, you

12   said closing.    You're doing instructions first.

13               THE COURT:    Instruction.

14               MR. OUTLAW:    Okay.

15               THE COURT:    Yes.     We generally -- yes.       We are

16   going to instruct before we close.            So here's the

17   schedule.     I have to leave no later than 3:30.         So they're

18   not going to deliberate long.         What I intend to do is to

19   instruct, have you argue and then let them -- I've changed

20   the jury instructions to allow them to pick their own

21   foreperson.     I just think that they should be able to do

22   that after they've worked together for two weeks.             If it's

23   a shorter trial, I oftentimes just have Number 1 be the

24   foreperson.     But when they've worked this hard for a long

25   time, they've bonded and they ought to have the




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 1   opportunity to try and pick their own foreperson.

 2               And then I'm going to let them -- I don't want

 3   them -- you know, I thought about having another judge

 4   here, but if there's a question that they have, I don't

 5   want questions answered unless I'm here.         And part of it

 6   was I thought, well, I could let them deliberate without

 7   me being here.     But in the event that they and if they

 8   reach a verdict, I want to be here when the verdict is

 9   issued.   So I'm assuming that the closings will be

10   somewhere in the neighborhood of an hour to an hour and 20

11   minutes each because there is a lot of stuff to cover.              So

12   they are not going to get the case until probably close to

13   3.   So there's not a lot of time that they're going to

14   have to deliberate today.      But so really they're going to

15   come back on Monday and that's when they'll dig in.            So

16   that's just the schedule.

17               MR. OUTLAW:    Your Honor, just on the schedule,

18   are you planning to break for lunch at any point?

19               THE COURT:    Well, here's the thing.      We've

20   ordered lunch now and I don't want to break in the middle

21   of argument.     I think they should go -- so what I we're

22   going to do is as soon as I finish, we're going to give

23   them a 30-minute lunch break.

24               MR. OUTLAW:    Okay.

25               THE COURT:    No longer because we've ordered the




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 1   food.     The food is back there.      So we'll ask them to eat

 2   quickly, come in there because once the closing happens, I

 3   don't want there to be a break.        I don't want them to

 4   break for lunch in the middle of closing.          I want it to be

 5   the United States, the defendant and then the United

 6   States and any rebuttal.       So that's the sequence.     Okay?

 7   Let's bring them in.

 8                (Jury present.)

 9                THE COURT:   All right.      Everybody, have a seat,

10   please.     Good morning, ladies and gentlemen.

11                THE JURY:    Good morning.     Well, thank you very

12   much your promptness and your attention.          I'm going to

13   give you the instructions.       What I'm about to do is as I

14   said at the very beginning of the trial would be to give

15   you the instructions of the law and we're going to hand

16   out a set for each of you so that if you are the kind of

17   person that likes to follow along while you're listening

18   to it.     That's fine.    If you want to just keep it for

19   reference later when you go back to deliberate, that's

20   fine, too.     It's whatever is easiest for you.       Everyone

21   got a copy?     All right.

22                Ladies and gentlemen, you are about to enter

23   your final duty, which is to decide the facts issues in

24   the case.     Before you do that, it's my job to instruct you

25   as to what the law is.       I know you will pay close




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 1   attention to me now as I do so and I will go slowly and

 2   try and be as clear as I possibly can be.

 3                I told you at the start of the trial that your

 4   main function during the trial in taking the testimony

 5   would be to listen carefully and to observe each witness

 6   who testified.     It has been obvious to me and to the

 7   lawyers that you have faithfully discharged this duty.

 8   Your interest has never flagged and it is evident to all

 9   of us that you followed the testimony with close

10   attention.     And I ask you to give me that same careful

11   attention now as I instruct you on the law.

12                You have now heard all of the evidence in the

13   case and you will soon hear the final arguments of the

14   lawyers for the parties.      It is my duty at this point to

15   instruct you as to the law.       It is your duty to accept

16   these instructions of the law and to apply them to the

17   facts that you determine, just as it has been my duty to

18   preside over the trial and decide what testimony and what

19   evidence is relevant under the law for your consideration.

20                On these legal matters, you must take the law as

21   I explain it to you.      If any attorney in their closing

22   argument should express a legal principle differently from

23   the way in which I instruct you on it, it is my

24   instructions that you must follow.

25                You should not single out any instruction alone




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 1   as stating the law, but you should consider my

 2   instructions as a whole when you retire to deliberate and

 3   reach your verdict.     You should not be concerned about the

 4   wisdom of any rule of law that I might state.          Regardless

 5   of any opinion you may have as to what the law may be or

 6   ought to be, it would violate your sworn duty to base your

 7   verdict on any other view of the law than which I give

 8   you.

 9               Your final role is to pass upon and decide the

10   factual issues that are in the case.        You, the members of

11   the jury, are the sole and exclusive judges of the facts.

12   You pass upon the weight of the evidence.         You determine

13   the credibility of the witnesses.        You resolve such

14   conflicts as there may be in the testimony and you draw

15   whatever reasonable inferences you decide to draw from the

16   facts as you have determined them.        Later I will discuss

17   with you how to determine the credibility or the

18   believability of witnesses.

19               In determining the facts, you must rely upon

20   your own recollection of the evidence.         What the lawyers

21   have said in their opening statements, in their closing

22   arguments, in their objections or in their questions is

23   not evidence.    In this connection, you should bear in mind

24   that a question that is asked of a witness is never

25   evidence.    Only the answer is evidence.       Nor is anything I




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 1   may have said during the trial or may say during these

 2   instructions with respect to a factual matter to be taken

 3   in substitution for your own independent recollection.

 4   What I say is not evidence.

 5               The evidence before you consists of the answers

 6   given by the witnesses, the testimony they gave as you

 7   recall it and the exhibits that were received in evidence.

 8               The evidence does not include questions.         Only

 9   the answers are evidence.      But you may not consider any

10   answer that I directed you to disregard or that I directed

11   to be struck from the record.       Do not consider any such

12   answers.

13               You may also consider any stipulations of the

14   parties, but I don't think that the parties have

15   stipulated to anything.      So there is no stipulation for

16   you to consider.

17               Since you are the sole and exclusive judges of

18   the facts, I do not mean to indicate any opinion as to the

19   facts or what your verdict should be.        The rulings I have

20   made during the trial are not any indication of my views

21   of what your decision should be as to whether or not the

22   guilt of the defendant has been proven beyond a reasonable

23   doubt.

24               I also ask you to draw no inference from the

25   fact that upon occasion I asked questions of certain




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 1   witnesses.     These questions were only intended for

 2   clarification or to expedite matters and certainly are not

 3   intended to suggest any opinions on my part as to the

 4   verdict you should render or whether any of the witnesses

 5   may have been more credible than any other witness.           You

 6   are expressly to understand that I have no opinion as to

 7   the verdict you should render in this case.

 8                As to the facts, ladies and gentlemen, you are

 9   the exclusive judges.      You are to perform the duty of

10   finding the facts without bias and without prejudice to

11   any party.

12                In determining the facts, you are reminded that

13   before each of you was accepted and sworn to act as a

14   juror, you were asked questions concerning competency,

15   qualifications, fairness and freedom from prejudice or

16   bias.   On the faith of those answers, you were accepted by

17   the parties as jurors.      Therefore, those answers are

18   binding on each of you now as they were then and should

19   remain so until the jury is discharged from the

20   consideration of this case.

21                You are to perform the duty of finding the facts

22   without bias or prejudice as to any party.         You are to

23   perform your final duty in an attitude of complete

24   fairness and impartiality.

25                This case is important to the government because




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 1   law enforcement of criminal laws is a matter of prime

 2   concern to the community.       Equally, it is important to the

 3   defendant who has been charged with serious crimes.

 4                The fact that the prosecution is brought in the

 5   name of the United States of America entitles the

 6   government to no greater consideration than accorded to

 7   any other party to a litigation.        By the same token, the

 8   government is entitled to no less consideration.           All

 9   parties, whether government or individuals, stand as

10   equals at the bar of justice.

11                It is the duty of the attorney for each side of

12   a case to object when the other side offers testimony or

13   other evidence which the attorneys believes is not

14   properly admissible.      Counsel also have the right and duty

15   to ask me to make rulings of law and to request

16   conferences at the bench outside of the hearing of the

17   jury.    All those questions of law must be decided by me,

18   the Court.     You should not show any prejudice against any

19   attorney or his or her client because they objected to the

20   admissibility of evidence or asked for a conference out of

21   the hearing of the jury or asked me to make a ruling on

22   the law.

23                As I already indicated, my rulings on the

24   admissibility of evidence do not indicate any opinion

25   about the weight or effect of such evidence.




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 1               You are the sole judges of the credibility of

 2   all witnesses and the weight and the effect of all

 3   evidence.    Your verdict must be based solely on the

 4   evidence developed at trial or the lack of evidence.

 5               It would be improper for you to consider in

 6   reaching your decision as to whether the government

 7   sustained its burden of proof any personal feelings you

 8   may have about the defendant's race, religion, national

 9   origin, sex or age.      All persons are entitled to the

10   presumption of innocence and the government has the burden

11   of proof as I will discuss it in just a moment.

12               It would be equally improper for you to allow

13   any feelings you may have about the nature of the crime

14   charged to interfere with your decision making process.

15               To repeat, your verdict must be based

16   exclusively upon the evidence or lack of evidence in the

17   case.

18               Under your oath as jurors, you are not to be

19   swayed by sympathy.      You are to be guided solely by the

20   evidence in this case.      And the crucial, hard-core

21   question that you must ask yourselves as you sift through

22   the evidence is has the government proven the guilt of the

23   defendant beyond a reasonable doubt.

24               It is for you alone to decide whether the

25   government has proven that the defendant is guilty of the




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 1   crimes charged solely on the basis of the evidence and

 2   subject to the law as I charge you.         It must be clear to

 3   you that once you let fear or prejudice or bias or

 4   sympathy interfere with your thinking, there is a risk

 5   that you will not arrive at a true and just verdict.

 6               If you have a reasonable doubt as to the

 7   defendant's guilt, you should not hesitate for any reason

 8   to find a verdict of acquittal.        But on the other hand, if

 9   you should find that the government has met its burden of

10   proving the defendant's guilt beyond a reasonable doubt,

11   you should not hesitate because of sympathy or any other

12   reason to render a verdict of guilty.

13               The defendant has pleaded not guilty to the

14   charges in the indictment.       To convict the defendant, the

15   burden is on the prosecution to prove the defendant's

16   guilt of each element of the charges beyond a reasonable

17   doubt.    The burden never shifts to the defendant for the

18   simple reason that the law presumes a defendant to be

19   innocent and never imposes upon a defendant in a criminal

20   case the burden or duty of calling any witness or

21   producing any evidence.

22               In other words, a defendant starts with a clean

23   slate and is presumed innocent of each charge until such

24   time if ever that you as a jury are satisfied that the

25   government has proven the defendant guilty of a given




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 1   charge beyond a reasonable doubt.

 2                During the trial, you have heard testimony of

 3   witnesses and argument by counsel that the government did

 4   not or you may hear argument by counsel that the

 5   government did use a particularly specific investigative

 6   technique.     You may consider these facts in deciding

 7   whether the government has met its burden of proof because

 8   as I told you, you should look to all of the evidence or

 9   lack of evidence in deciding whether the defendant is

10   guilty.    However, you are also instructed that there is no

11   legal requirement that the government use any of these

12   specific investigative techniques to prove its case.           Law

13   enforcement techniques are not your concern.

14                Your concern, as I have said, is to determine

15   whether or not the evidence or the lack of evidence

16   whether based upon the evidence or lack of evidence the

17   defendant's guilt has been proved beyond a reasonable

18   doubt.

19                In deciding whether or not the government has

20   met its burden of proof, you may consider both direct and

21   circumstantial evidence.

22                Direct evidence is evidence that proves a

23   disputed fact directly.       For example, when a witness

24   testifies to what he or she saw, heard or observed, that

25   is what we call direct evidence.




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 1                Circumstantial evidence is evidence that tends

 2   to prove a disputed fact by proof of other facts.           To give

 3   a simple example, suppose that when you came into the

 4   courthouse today the sun was shining and it was a nice

 5   day, but the courtroom blinds are drawn.         You can't look

 6   outside to see what the weather is like.         Later on, while

 7   you're sitting here, someone walks in with an umbrella

 8   that is wet and dripping and soon after that, someone else

 9   walks in with a dripping wet raincoat.

10                Now on our assumed facts, you cannot look

11   outside the courtroom.      You can't see whether it is

12   raining or not.     So you have no direct evidence of that

13   fact.    But on the combination of the facts about the

14   umbrella and the raincoat, it would be reasonable for you

15   to infer that it had begun to rain.

16                That's all there is to circumstantial evidence.

17   Using your reason and experience, you infer from the

18   established facts the existence or nonexistence of some

19   other fact.     Please note, however, that it is not a matter

20   of speculation or guess.       It is a matter of logical

21   inference.

22                The law makes no distinction between direct and

23   circumstantial evidence.       Circumstantial evidence is of no

24   less value than direct evidence and you may consider

25   either or both and you may give them such weight as you




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 1   conclude is warranted.

 2               During the trial, you may have heard the

 3   attorneys use the term "inference".         In their arguments,

 4   they may ask you to infer on the basis of reason,

 5   experience and common sense from one or more established

 6   facts the existence of some other fact.

 7               An inference is not a suspicion or a guess.             It

 8   is a reasoned, logical decision to conclude that a

 9   disputed fact exists on the basis of another fact which

10   you know exists.

11               There are times when different inferences may be

12   drawn from facts whether proved by direct or

13   circumstantial evidence.       The government asks you to draw

14   one set of inferences, while the defense asks you to draw

15   another.    It is for you alone to decide what inferences

16   you will draw.

17               The process of drawing inferences from the facts

18   in evidence is not a matter of guesswork or speculation.

19   An inference is a deduction or conclusion which you, the

20   jury, are permitted, but not required to draw from the

21   facts which have been established by either direct or

22   circumstantial evidence.       In drawing inferences, you

23   should exercise common sense.

24               So while you are considering the evidence

25   presented to you, you are permitted to draw from the facts




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 1   which you find to be proven such reasonable inferences as

 2   would be justified in light of your experience.

 3               Here again, let me remind you that whether based

 4   upon direct or circumstantial evidence or upon the

 5   logical, reasonable inferences drawn from such evidence,

 6   you must be satisfied of the guilt of the defendant beyond

 7   a reasonable doubt before you may convict the defendant.

 8               The evidence in this case consists of the sworn

 9   testimony of the witnesses and the exhibits received in

10   evidence.     Exhibits which have been marked for

11   identification but not received may not be considered by

12   you as evidence.     Only those exhibits received into

13   evidence may be considered as evidence.

14               Once you retire to deliberate, we will have

15   brought back to you the exhibits that have been admitted.

16   So they'll be brought back to you and you will have them

17   as a group.

18               Similarly, you are to disregard any testimony

19   that I have ordered to be stricken.         As I indicated

20   before, only the witnesses' answers are evidence and you

21   are not to consider a question as evidence.          Similarly,

22   statements by counsel are not evidence.

23               You should consider the evidence in the light of

24   your own common sense and experience and you may draw

25   reasonable inferences from the evidence.




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 1                Anything you may have seen or heard about this

 2   case outside the courtroom is not evidence and must be

 3   disregarded entirely.

 4                Let me emphasize that a lawyer's question is not

 5   evidence.     At times, a lawyer on cross-examination may

 6   have incorporated into a question a statement which

 7   assumed certain facts to be true and asked the witness if

 8   the statement was true.       If the witness denies the truth

 9   of the statement and if there is no evidence in the record

10   proving the assumed fact is true, then you may not

11   consider the fact to be true simply because it was

12   contained in the lawyer's question.         In short, questions

13   are not evidence.      Answers are.

14                During the trial, you saw documents in the Farsi

15   language consisting of emails, chats and other items.

16   Since you are not expected to understand Farsi, the

17   government was permitted to provide you with the English

18   translation of those items so you could consider their

19   content.     These translations were admitted into evidence

20   and are the primary evidence of those foreign language

21   documents.

22                Whether a translation is accurate in whole or in

23   part is for you to decide.       In considering whether a

24   translation accurately describes its foreign language

25   counterpart, you should consider the testimony presented




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 1   to you regarding how and by whom the translation was made.

 2   You may consider the knowledge, the training and

 3   experience of the translator as well as the nature of the

 4   document and the reasonableness of the translation in

 5   light of all of the evidence in the case.          You should not

 6   rely in any way on any knowledge you may have of the

 7   language in which the document was originally written.

 8   Your consideration of the translations should be based

 9   upon the evidence introduced at trial.

10               The government has presented exhibits in the

11   form of charts and summaries which have been admitted as

12   evidence.    These charts and summaries were admitted in

13   place of the underlying documents that they represent in

14   order to save time and avoid unnecessary inconvenience.

15   You should consider these charts and summaries as you

16   would any other evidence.

17               There has been evidence that the defendant made

18   certain statements in which the government claims he

19   admitted certain facts charged in the indictment.           In

20   deciding what weight to give the defendant's statements,

21   you should first examine with great care whether each

22   statement was made and whether in fact it was voluntarily

23   and understandingly made.       I instruct you that you are to

24   give the statements such weight as you feel they deserve

25   in light of all the evidence.




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 1               It must be clear to you by now that the

 2   government and the defense are asking you to draw

 3   different conclusions about various factual issues in the

 4   case.    Deciding these issues will involve making judgments

 5   about the testimony of the witnesses you have listened to

 6   and observed.     In making these judgments, you should

 7   carefully scrutinize all the testimony of each witness,

 8   the circumstances under which each witness testified and

 9   any other matter in evidence that may help you decide the

10   truth and the importance of each witness' testimony.

11               Your decision whether or not to believe a

12   witness may depend on how that witness impressed you.               How

13   did the witness appear?       Was the witness candid, frank and

14   forthright or did the witness seem to be evasive or

15   suspect in some way?      How did the witness testify on

16   direct examination compare with how the witness testified

17   on cross-examination?      Was the witness consistent in his

18   or her testimony or did the witness contradict himself or

19   herself?    Did the witness appear to know what he or she

20   was talking about?      Did the witness strike you as someone

21   who was trying to report his or her knowledge accurately?

22   These are examples of the kind of common sense questions

23   you should ask yourselves in deciding whether the witness

24   is or is not truthful.

25               How much you choose to believe a witness may




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 1   also be influenced by the witness' bias.         Does the witness

 2   have a relationship with the government or the defendant

 3   that may affect how he or she testified?         Does the witness

 4   have some incentive, loyalty, or motive that might cause

 5   him or her to shade the truth?        Does the witness have some

 6   bias, prejudice or hostility that may cause the witness to

 7   give you something other than a completely accurate

 8   account of the facts he or she testified to?

 9               You should also consider whether a witness had

10   an opportunity to observe the facts he or she testified

11   to.   Also you should consider whether the witness'

12   recollection of the facts stands up in light of the other

13   evidence in the case.

14               In other words, what you must try to do in

15   deciding credibility is to size up a person just as you

16   would in any important matter when you are trying to

17   decide if a person is truthful, straightforward and

18   accurate in his recollection.        In deciding the question of

19   credibility, remember you should use your common sense,

20   your good judgment and your experience.

21               In evaluating the credibility of the witness,

22   you should take into account any evidence that the witness

23   who testified may benefit in some way from the outcome of

24   the case.    Such an interest in the outcome creates a

25   motive to testify falsely and may sway the witness to




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 1   testify in a way that advances his or her interests.

 2   Therefore, if you find that any witness whose testimony

 3   you are considering may have an interest in the outcome of

 4   this trial, then you should bear that factor in mind when

 5   evaluating the credibility of his or her testimony and

 6   accept it with great care.

 7               This is not to suggest that every witness who

 8   has an interest in the outcome of a case will testify

 9   falsely.    It's for you to decide to what extent, if at

10   all, the witness' interest has affected or colored his or

11   her testimony.

12               The defendant has called witnesses who have

13   given their opinion of his good character.          This testimony

14   is not to be taken by you as the witness' opinion as to

15   whether the defendant is guilty or not guilty.          That

16   question is for you alone to decide.         You should, however,

17   consider this character evidence together with all the

18   other facts and all the other evidence in the case in

19   determining whether the defendant is guilty or not guilty

20   of the charges.

21               Accordingly, if after considering all the

22   evidence including the testimony about the defendant's

23   good character you find that a reasonable doubt has been

24   created, you must acquit him of all the charges.

25               On the other hand, if after considering all the




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 1   evidence, including that of the defendant's character, you

 2   are satisfied beyond a reasonable doubt that the defendant

 3   is guilty, you should not acquit the defendant merely

 4   because you believe him to be a person of good character.

 5               You've heard testimony during the trial of law

 6   enforcement officials.      The fact that a witness may be

 7   employed by the federal government as a law enforcement

 8   official does not mean that his testimony is necessarily

 9   deserving of more or less consideration or greater or

10   lesser weight than that of any ordinary witness.

11               At the same time, it is quite legitimate for the

12   defense counsel to try to attack the credibility of a law

13   enforcement witness on the grounds that his testimony or

14   her testimony may be colored by a personal or professional

15   interest in the outcome of the case.

16               It is your decision after reviewing all of the

17   evidence whether to accept the testimony of the law

18   enforcement witness and to give that testimony whatever

19   weight, if any, you find that it deserves.

20               You have heard testimony from certain persons

21   who were qualified as expert witnesses.         An expert is

22   allowed to express his or her opinion on those matters

23   about which he or she has special knowledge, skill,

24   experience and training.       Expert testimony is presented to

25   you on the theory that someone who is experienced and




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 1   knowledgeable in the field can assist you in understanding

 2   the evidence or in reaching an independent decision on the

 3   facts.

 4               In weighing the expert's testimony, you may

 5   consider the expert's qualification, his or her opinions,

 6   his or her reasons for testifying as well as all of the

 7   other considerations that ordinarily apply when you are

 8   deciding whether or not to believe a witness' testimony.

 9   You may give the expert testimony whatever weight, if any,

10   you find that it deserves in light of all the evidence in

11   the case.    You should not, however, accept the expert's

12   testimony merely because he or she is an expert.           Nor

13   should you substitute it for your own reason, judgment,

14   and common sense.      The determination of the facts in this

15   case rests solely with you.

16               The fact that one party called more witnesses

17   and introduced more evidence than the other does not mean

18   that you should necessarily find the facts in favor of the

19   side offering the most witnesses.        By the same token, you

20   do not have to accept the testimony of any witness who has

21   not been contradicted or impeached if you find that

22   witness not to be credible.       You also have to decide which

23   witnesses to believe and which facts are true.          To do this

24   you must look at all the evidence, drawing upon your own

25   common sense and personal experience.         I have already




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 1   instructed you on the criteria for evaluating credibility.

 2   You should keep in mind that the burden of proof is always

 3   on the government and the defendant is not required to

 4   call any witnesses or offer any evidence since he is

 5   presumed to be innocent.

 6               In a criminal case, the defendant cannot be

 7   required to testify, but if he chooses to testify, he is

 8   of course permitted to take the witness stand in his own

 9   behalf.    In this case, the defendant decided to testify.

10   You should examine and evaluate his testimony just as you

11   would the testimony of any witness with an interest in the

12   outcome of the case.

13               With these preliminary instructions in mind, let

14   me turn to the charges against the defendant as contained

15   in the indictment and the rules of law which govern

16   whether those charges have been proven.

17               An indictment is simply a description of the

18   charges against the defendant.        It is an accusation only.

19   An indictment is not evidence of anything and you should

20   not give any weight to the fact that the defendant has

21   been indicted in making your decision in this case.

22               The indictment consists of eight counts.

23               Count One charges the defendant with

24   participating in a conspiracy to export goods and services

25   to Iran in violation of the United States government's




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 1   sanctions governing interactions with Iran.

 2                Counts Two through Eight charge the defendant

 3   with separate instances of violating or attempting to

 4   violate or aiding and abetting the violations of those

 5   sanctions.

 6                You must consider each count individually and

 7   return a separate verdict of guilty or not guilty for

 8   each.    Whether you find the defendant guilty or not guilty

 9   as to one offense should not affect your verdict as to any

10   other offense charged.

11                You may not draw any inference, either favorable

12   or unfavorable towards the government or the defendant on

13   trial from the fact that certain persons were not named as

14   defendants in the indictment or were named as

15   co-defendants in the indictment, but were not tried here

16   along with the defendant.       The circumstances that these

17   people were not indicted or are not on trial here must

18   play no part in your deliberations.

19                Whether a person should be indicted as a

20   defendant is a matter within the sole discretion of the

21   United States Attorney and the grand jury.          Therefore, you

22   may not consider it in any way in reaching your verdict as

23   to the defendant on trial.

24                With respect to Mr. Saboonchi, your verdict as

25   to him must be determined solely on the evidence or lack




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 1   of evidence presented against him without regard to the

 2   guilt or innocence of anyone else.

 3               The indictment alleges that some act in

 4   furtherance of the offenses charged occurred here in the

 5   District of Maryland.      There is no requirement that all

 6   aspects of the offenses charged or that the entire

 7   conspiracy charged take place in the District of Maryland.

 8   But for you to return a guilty verdict, the government

 9   must convince you that some act in furtherance of the

10   crimes charged took place in the District of Maryland.

11               While we are on the subject of the indictment, I

12   should draw your attention to the fact that it does not

13   matter if the indictment charges that a specific act

14   occurred on or about a certain date and the evidence

15   indicates that in fact it was on another date.          The law

16   only requires a substantial similarity between the dates

17   alleged in the indictment and the dates established by the

18   testimony or the exhibits.

19               Count One of the indictment charges the

20   defendant with conspiring to export goods and services to

21   an embargoed country, specifically Iran.         The charges

22   state in pertinent part as follows:         Beginning in or about

23   September 2009 and continuing up to and through in or

24   about March 2013, in the District of Maryland and

25   elsewhere, Ali Saboonchi, Arash Rashti Mohammad a/k/a




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 1   Arash Rashti, Mehdi Mohammadi and Ehsan Naghshineh,

 2   defendants herein, did knowingly and willfully combine,

 3   conspire, confederate and agree with one another, that

 4   with others known and unknown to the grand jury to

 5   knowingly and willfully export or cause to be exported

 6   goods and services from the United States to Iran in

 7   violation of the Iran Transactions and Sanctions

 8   Regulations, without first having obtained the required

 9   licenses or authorizations from the Department of the

10   Treasury, Office of Foreign Assets Control in violation of

11   Title 50, United States Code, Section 1702 and 1705 and

12   Title 31, Code of Federal Regulations, Sections 560.203

13   and 560.204.

14               The objects of the conspiracy were:

15               A.   To provide services to Iranian individuals

16   and businesses seeking to purchase industrial parts and

17   components manufactured and/or supplied in the United

18   States.

19               B.   To supply entities in Iran with industrial

20   parts and components manufactured and/or supplied in the

21   United States.

22               C.   To evade the prohibitions and licensing

23   requirements of the Iran Trade Embargo, the ITSR, Iranian

24   Transactions and Sanctions Regulations, and the IEEPA,

25   International Emergency Economic Powers Act.




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 1               And to conceal the prohibited activities and

 2   transactions from detection by the United States

 3   government through deceit and any other means so as to

 4   avoid penalties and disruption of the illegal activity.

 5               It was part of the conspiracy, among other

 6   things that:     A, Saboonchi created and operated Ace

 7   Electric Company for the purpose of obtaining goods to be

 8   sent to Iran.

 9               B.   Rashti, Mohammadi, Naghshineh and/or other

10   members of the conspiracy and their associates solicited

11   purchase orders and business from customers in Iran for

12   the United States-origin industrial parts and components.

13               Rashti, Mohammad, Naghshineh and other members

14   of the conspiracy and their associates requested that

15   Saboonchi and others obtain price quotes for, order and/or

16   purchase United States-origin industrial parts and

17   components for subsequent export to Iran, all of which

18   were subject to United States export regulations.

19               Saboonchi at the request of the members of the

20   conspiracy and other Iranian-based associates obtained

21   price quotes for, ordered and/or purchased United

22   States-origin industrial parts and components for

23   subsequent export to Iran, all of which were subject to

24   United States export regulations.

25               Members of the conspiracy arranged for Saboonchi




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 1   and others to make payments for orders that he or members

 2   of the conspiracy had placed with companies in the United

 3   States.

 4               Saboonchi utilized locations in Maryland to

 5   accept delivery of the United States-origin industrial

 6   parts and components ordered by him and/or members of the

 7   conspiracy and their associates and then shipped the goods

 8   to co-conspirators in the UAE, United Arab Emirates, or

 9   China.

10               Rashti, Mohammadi and Naghshineh and other

11   members of the conspiracy and their associates arranged

12   for Saboonchi to ship or have shipped, the goods he

13   obtained to entities located in the UAE or China.           They

14   further arranged for the entities in the UAE or China to

15   forward the goods to them and/or their customers in Iran.

16               Saboonchi and other members of the conspiracy

17   provided or caused to be provided false information on

18   invoices and shipping documents regarding the true value

19   of the goods that they exported or caused to be exported

20   as a means by which to conceal and/or facilitate their

21   unlawful export activities.

22               Members of the conspiracy paid for the United

23   States-origin industrial parts and components obtained by

24   them and the associated shipping and related fees by money

25   transfers including wire transfers and other deposits to




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 1   bank accounts used by Saboonchi and/or his wife.

 2               It was further a part of the conspiracy that

 3   Saboonchi, Rashti, Mohammadi, Naghshineh, and others on

 4   numerous occasions to acquire or attempt to acquire, goods

 5   from the United States to be sent to customers in Iran.

 6               The International Emergency Economic Powers Act,

 7   referred to as IEEPA and codified at Title 50 of the

 8   United States Code, authorizes the federal government to

 9   issue and enforce economic sanctions in the interest of

10   national security.      Between March and May 1995, the

11   President issued a series of Executive Orders, pursuant to

12   his authority under IEEPA.       The Executive Orders issued by

13   the President imposed economic sanctions against Iran to

14   include a trade embargo.       The national emergency with

15   respect to Iran has been extended annually through

16   successive Presidential Orders.        Based on these orders,

17   the Department of the Treasury, through its Office of

18   Foreign Assets Control or OFAC issued the Iranian

19   Transactions and Sanctions Regulations or ITSR to govern

20   interactions with Iran.       The ITSR are codified in Title 31

21   of the Code of Federal Regulations, including Sections

22   560.203 and 560.204.

23               The defendant is charged with conspiring to

24   violate IEEPA by providing goods and services to

25   individuals in Iran beginning about September 2009 through




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 1   and including about March 2013.        Section 1705 of Title 50

 2   of the U.S. Code, makes it a crime to willfully violate,

 3   attempt to violate, conspire to violate, or cause a

 4   violation of regulations issued pursuant to the IEEPA.

 5               Section 560.204 of Title 31 of the Code of

 6   Federal Regulations prohibits the unauthorized

 7   exportation, reexportation, sale or supply, directly or

 8   indirectly from the United States of any goods, technology

 9   or services to Iran or the Government of Iran, including

10   the exportation, reexportation, sale or supply of any

11   goods, technology or services to a person in a third

12   country undertaken with the knowledge or reason to know

13   that such goods, technology or services are intended

14   specifically for supply, transshipment or reexportation

15   directly or indirectly to Iran or the Government of Iran.

16               Section 560.203 of Title 31 of the Code of

17   Federal Regulations prohibits "any transaction that evades

18   or avoids, has the purpose of evading or avoiding, causes

19   a violation of or attempts to violate any of the

20   prohibitions contained in the ITSR or any conspiracy

21   formed to violate those prohibitions."

22               In order for the defendant to be found guilty of

23   the conspiracy charged in Count One of the indictment, the

24   government must prove each of the following elements

25   beyond a reasonable doubt.




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 1               First, that there was an agreement between two

 2   or more persons to knowingly and willfully export or cause

 3   to be exported goods or services from the United States

 4   without obtaining the required licenses or authorizations

 5   from OFAC and, second, that the defendant became a member

 6   of the conspiracy knowing of at least one of its objects

 7   and intending to help accomplish it.         I shall discuss with

 8   you briefly the law relating to each of these elements.

 9               A conspiracy is a kind of criminal partnership,

10   a combination or agreement of two or more persons to join

11   together to accomplish some unlawful purpose.          The crime

12   of conspiracy to violate a federal law is an independent

13   offense.    It is separate and distinct from the actual

14   violation of any specific federal laws, which the law

15   refers to as the substantive crimes.         Indeed, you may find

16   the defendant guilty of the crime of conspiracy, even

17   though the substantive crime which was the object of the

18   conspiracy was not actually committed.

19               Congress has deemed it appropriate to make

20   conspiracy, standing alone, a separate crime even if the

21   conspiracy is not successful.        This is because collective

22   criminal activity poses a greater threat to the public's

23   safety and welfare than individual conduct and increases

24   the likelihood of success of a particular criminal

25   venture.




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 1               The first element of the crime of conspiracy is

 2   the existence of an agreement.        The government must prove

 3   beyond a reasonable doubt that two or more persons entered

 4   into an unlawful agreement charged in the indictment.               For

 5   a conspiracy to have existed, you need not find that the

 6   alleged members of the conspiracy met together and entered

 7   into any express or formal agreement.         Similarly, you need

 8   not find that the alleged conspirators stated in words or

 9   writing what the scheme was, its object or purpose or

10   every precise detail of the scheme or the means by which

11   its object or purpose were to be accomplished.          What the

12   government must prove is there was a mutual understanding,

13   either spoken or unspoken between two or more people to

14   cooperate with each other to accomplish an unlawful act.

15               You may, of course, find that the existence of

16   an agreement to disobey or disregard the law has been

17   established by direct proof.       However, since conspiracy is

18   by its very nature characterized by secrecy, you may also

19   infer its existence from the circumstances of this case

20   and the conduct of the parties involved.

21               In the context of conspiracy cases, actions

22   often speak louder than words.        In this regard, you may,

23   in determining whether an agreement existed here, consider

24   the actions and statements of all those you find to be

25   participants as proof that a common design existed on the




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 1   part of the persons charged to act together to accomplish

 2   an unlawful purpose.

 3               If you find that a criminal agreement or

 4   conspiracy existed, then in order to find the defendant

 5   guilty of conspiracy, you must also find that the

 6   government proved beyond a reasonable doubt that the

 7   defendant knowingly and willfully joined the conspiracy.

 8   Did he participate in it with a knowledge of its unlawful

 9   purpose and with the specific intention of furthering its

10   goals or objectives?

11               In that regard, it has been said that in order

12   for a defendant to be deemed a participant in the

13   conspiracy, he must have had a stake in the venture or its

14   outcome.    I instruct that while proof of a financial

15   interest in the outcome of a scheme is not essential, if

16   you find that the defendant had such an interest, that is

17   a factor which you may properly consider in determining

18   whether or not the defendant was a member of the

19   conspiracy charged in the indictment.

20               It is important for you to note that the

21   defendant's participation in the conspiracy must be

22   established by independent evidence of his own acts or

23   statements as well as by those of other alleged

24   co-conspirators and that the reasonable inferences which

25   may be drawn from them.




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 1               The defendant's knowledge may be inferred from

 2   the facts proved.      The defendant need not have known the

 3   identities of each and every other member, nor need he

 4   have been apprised of all their activities.          Moreover, the

 5   defendant need not have been fully informed as to all of

 6   the details or the scope of the conspiracy in order to

 7   justify an inference of knowledge on his part.

 8   Furthermore, the defendant need not have joined in all the

 9   conspiracy's unlawful objectives.

10               The extent of a defendant's participation has no

11   bearing on the issue of a defendant's guilt.          A

12   co-conspirator's liability is not measured by the extent

13   or duration of his participation.        Indeed, each member may

14   perform separate and distinct acts and may perform them at

15   different times.     Some co-conspirators play major roles

16   while others play minor roles in the scheme.          An equal

17   role is not what the law requires.        In fact, even a single

18   act may be sufficient to draw the defendant within the

19   ambit of the conspiracy.

20               I want to caution you, however, that the

21   defendant's mere presence at the scene of the alleged

22   crime does not, by itself, make him a member of the

23   conspiracy.     Similarly, mere association with one or more

24   members of the conspiracy does not automatically make the

25   defendant a member.      A person may know or be friendly with




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 1   a criminal without being considered a criminal himself.

 2   Mere similarity of conduct or the fact that they may have

 3   assembled together and discussed common aims and interests

 4   does not necessarily establish membership in the

 5   conspiracy.

 6                I also want to caution you that mere knowledge

 7   or acquiescence, without participation, in an unlawful

 8   plan is not sufficient.       Moreover, the fact that the acts

 9   of a defendant without knowledge merely happen to further

10   the purposes or objectives of the conspiracy does not make

11   the defendant a member.       More is required by the law.

12   What is necessary is that the defendant must have

13   participated with knowledge of at least some of the

14   purposes or objectives of the conspiracy and with the

15   intention of aiding in the accomplishment of those

16   unlawful ends.

17                In sum, the defendant with an understanding of

18   the unlawful character of the conspiracy, must have

19   intentionally engaged, advised or assisted in it for the

20   purpose of furthering the illegal undertaking.          He thereby

21   becomes a knowing and willing participant in the unlawful

22   agreement.     That is to say, a co-conspirator.

23                You have been instructed that in order to

24   sustain its burden of proof, the government must prove

25   that the defendant acted knowingly.         A person acts




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 1   knowingly if he acts intentionally and voluntarily and not

 2   because of ignorance, mistake, accident or carelessness.

 3   Whether the defendant acted knowingly may be proven by the

 4   defendant's conduct and by all of the facts and

 5   circumstances surrounding the case.

 6                In determining whether the defendant acted

 7   knowingly, you may consider whether the defendant

 8   deliberately closed his eyes to what otherwise would have

 9   been obvious to him.      If you find beyond a reasonable

10   doubt that the defendant acted with a conscious purpose to

11   avoid learning the truth or that the defendant's ignorance

12   was solely and entirely the result of his conscious

13   purpose to avoid learning the truth about the lawfulness

14   of the conduct, then this element may be satisfied.

15   However, guilty knowledge may not be established by

16   demonstrating that the defendant was merely negligent,

17   foolish or mistaken.

18                If you find that the defendant was aware of a

19   high probability that his conduct was unlawful and that

20   the defendant acted with deliberate disregard of the

21   facts, you may find that the defendant acted knowingly.

22   However, if you find that the defendant actually believed

23   that his conduct was not unlawful, he may not be

24   convicted.     It is entirely up to you whether you find that

25   the defendant deliberately closed his eyes and any




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 1   inferences to be drawn from the evidence on this issue.

 2               You have been instructed that in order to

 3   sustain his burden of proof, the government also must

 4   prove that the defendant acted willfully.          Willfully means

 5   to act with knowledge that one's conduct is unlawful and

 6   with the intent to do something that the law forbids; that

 7   is to say, the bad purpose to disobey or disregard the

 8   law.   The defendant's conduct is not willful if it was due

 9   to negligence, inadvertence or mistake or was the result

10   of a good faith misunderstanding of the requirements of

11   the law.    In this connection, it is for you to decide

12   whether the defendant acted in good faith, that is,

13   whether he sincerely misunderstood the requirements of the

14   law or whether he knew what he was required to do and

15   deliberately did not do so.

16               To find that the defendant acted willfully, you

17   must find beyond a reasonable doubt that he acted with the

18   knowledge that his conduct was unlawful.         While the

19   government must show that the defendant knew that his

20   conduct was unlawful, it is not necessary for the

21   government to prove that the defendant had read or was

22   aware of the contents of the IEEPA or the ITSR.

23               Knowledge, willfulness, intent involve a

24   person's state of mind.       Rarely is direct proof available

25   to establish the state of one's mind.         This may be




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 1   inferred from what he says or does, his words, his actions

 2   and his conduct as of the time of the occurrence of

 3   certain events.

 4               The intent with which an act is done is often

 5   more clearly and conclusively shown by the act itself or

 6   by a series of acts than by words or explanations of the

 7   act uttered long after its occurrence.         Accordingly,

 8   intent, willfulness and knowledge are usually established

 9   by surrounding facts and circumstances as of the time the

10   acts in question occurred or the events took place and the

11   reasonable inferences to be drawn from them.          Willful

12   intent or guilty knowledge may also be inferred from the

13   secretive or irregular manner in which a transaction is

14   carried out.

15               You will recall that I have admitted into

16   evidence against the defendant the acts and statements of

17   others because these acts and statements were committed by

18   persons who the government charges were the defendant's

19   confederates or co-conspirators.

20               The reason for allowing this evidence to be

21   received against the defendant has to do with the nature

22   of the crime of conspiracy.       A conspiracy is often

23   referred to as a partnership in crime.         Thus, as in other

24   types of partnerships, when people enter into a conspiracy

25   to accomplish an unlawful end, each and every member




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 1   becomes an agent of the other co-conspirators in carrying

 2   out the conspiracy.

 3               Accordingly, the reasonably foreseeable acts,

 4   declarations, statements and omissions of any member of

 5   the conspiracy and in furtherance of the common purpose of

 6   the conspiracy, are deemed under the law to be the acts of

 7   all of the members and all of the members are responsible

 8   for such acts, declarations, statements and omissions.

 9               If you find beyond a reasonable doubt that the

10   defendant was a member of the conspiracy charged in the

11   indictment, then any acts done or statements made in

12   furtherance of the conspiracy by persons also found to you

13   to have been members of that conspiracy may be considered

14   against the defendant.      This is so even if acts were done

15   and statements were made in the defendant's absence and

16   without his knowledge.

17               However, before you may consider the statements

18   or acts of a co-conspirator, in deciding the issues of the

19   defendant's guilt, you must first determine that the acts

20   and statements were made during the existence and in

21   furtherance of the unlawful scheme.         If the acts were done

22   or the statements made by someone for whom you do not find

23   to have been a member of the conspiracy or if they were

24   not done or said in furtherance of the conspiracy, then

25   they must be considered by you as evidence only against




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 1   the member who said or did them.

 2               Counts Two through Eight of the indictment

 3   charge the defendant with violating and aiding and

 4   abetting the violation of the IEEPA as follows.

 5               Count Two of the indictment charges that

 6   beginning in or about February 2010 and continuing through

 7   in or about January 2011 in the District of Maryland, the

 8   defendant and Arash Rashti Mohammad a/k/a Arash Rashti did

 9   knowingly and willfully export and cause the exportation

10   and attempt to export and cause the exportation of certain

11   goods, namely, cyclone separators and services from the

12   United States to Iran in violation of the ITSR without

13   first having obtained the required licenses or

14   authorizations from the Department of Treasury, Office of

15   Foreign Assets Control.

16               Count Three of the indictment charges that

17   beginning in or about June 2010 and continuing in or about

18   February 2011, in the District of Maryland, the defendant

19   and Arash Rashti Mohammad a/k/a Arash Rashti, did

20   knowingly and willfully export and cause the exportation

21   or attempt to export and cause the exportation of certain

22   goods, namely, thermocouples and services from the United

23   States to Iran in violation of the ITSR without first

24   having obtained the required licenses or authorizations

25   from the Department of the Treasury, Office of Foreign




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 1   Assets Control.

 2               Count Four of the indictment charges that

 3   beginning in or about December 2010 and continuing through

 4   in or about September 2011, in the District of Maryland,

 5   the defendant and Arash Rashti Mohammad a/k/a Arash Rashti

 6   did knowingly and willfully export and cause the

 7   exportation and attempt to export and cause the

 8   exportation of certain goods, to wit, flow meters and

 9   services from the United States to Iran in violation of

10   the ITSR, without first having obtained the required

11   licenses or authorizations from the Department of the

12   Treasury, Office of Foreign Assets Control.

13               Count Five of the indictment charges that

14   beginning in or about January 2011 and continuing through

15   in or about April 2011, in the District of Maryland, the

16   defendant and Arash Rashti Mohammad a/k/a Arash Rashti,

17   did knowingly and willfully export and cause the

18   exportation and attempt to export and cause the

19   exportation of certain goods, namely, actuator springs and

20   services from the United States to Iran in violation of

21   the ITSR without first having obtained the required

22   licenses or authorizations from the Department of the

23   Treasury, Office of Foreign Assets Control.

24               Count Six of the indictment charges that

25   beginning in or about July 2012 and continuing through in




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 1   or about October 2012, in the District of Maryland, the

 2   defendant, Mehdi Mohammadi and Ehsan Naghshineh, did

 3   knowingly and willfully export and cause the exportation

 4   and attempt to export and cause the exportation of certain

 5   goods, namely, pumps and valves and services from the

 6   United States to Iran in violation of the ITSR without

 7   first having obtained the required licenses or

 8   authorizations from the Department of the Treasury, Office

 9   of Foreign Assets Control.

10               Count Seven of the indictment charges that

11   beginning in or about December 2012 and continuing through

12   in or about February 2013, in the District of Maryland,

13   the defendant, Mehdi Mohammadi and Ehsan Naghshineh, did

14   knowingly and willfully export or cause the exportation

15   and attempt to export and cause the exportation of certain

16   goods, namely, LCD modules, a pump and other industrial

17   parts and services from the United States to Iran in

18   violation of the ITSR without first having obtained the

19   required licenses or authorizations from the Department of

20   the Treasury, Office of Foreign Assets Control.

21               Finally, Count Eight of the indictment charges

22   that beginning in or about December 2012 and continuing

23   through in or about March 2013, in the District of

24   Maryland, the defendant and Mehdi Mohammadi did knowingly

25   and willfully attempt to export and cause the exportation




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 1   of certain goods, namely, a pump cartridge kit and 20

 2   radioiodine air-sampling cartridges and services from the

 3   United States to Iran in violation of the ITSR without

 4   first having obtained the required licenses or

 5   authorizations from the Department of the Treasury, Office

 6   of Foreign Assets Control.

 7                It is not uncommon that a given criminal statute

 8   will prohibit not merely one form of action such as

 9   committing a violation or attempting to commit that

10   violation.     It is permissible for the government to charge

11   both aspects of the statute and separate them with the

12   word "and."     This does not mean that the government must

13   prove both aspects.      On the contrary, the government need

14   only prove one aspect beyond a reasonable doubt.           Thus,

15   for example, if the evidence proves that the defendant

16   attempted to violate a statute, it's irrelevant whether or

17   not he actually violated it.

18                In order to find the defendant guilty of the

19   charges set forth in Counts Two through Eight, the

20   government must prove the following beyond a reasonable

21   doubt as to each count.

22                First, that the defendant violated, attempted to

23   violate or caused a violation of the ITSR, namely, Section

24   560.204 of Title 31 of the Code of Federal Regulations, a

25   regulation issued pursuant to IEEPA and secondly, that he




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 1   did so knowingly and willfully.

 2               As I previously instructed you in Jury

 3   Instruction Number 30, it is a violation of Section

 4   560.204 if a person without authorization under the ITSR

 5   exports, reexports, sells or supplies, directly or

 6   indirectly from the United States any goods or services to

 7   Iran or the Government of Iran including the exportation,

 8   reexportation, sale or supply of any goods or services to

 9   a person in a third country, knowing or having reason to

10   know that such goods or services are intended specifically

11   for supply, transshipment or reexportation directly or

12   indirectly to Iran or the Government of Iran.

13               An export is the act of sending or carrying

14   goods and merchandise out of the country with the intent

15   that the goods reach another country and enter into its

16   commerce.    Exportation occurs when the goods are

17   transported out of the United States with the necessary

18   intent whether or not they actually arrive at their

19   destination.

20               The prohibition on the exportation,

21   reexportation, sale or supply of services applies to

22   services performed on behalf of a person in Iran or the

23   Government of Iran or where the benefit of such services

24   is otherwise received in Iran, if such services are

25   performed in the United States.




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 1               I have previously instructed you on the meaning

 2   of the terms "knowingly" and "willfully" and you should

 3   apply those definitions here.

 4               In some cases, it is a crime for a person to

 5   attempt the commission of an offense even if the attempt

 6   fails and the intended offense is not actually carried out

 7   or fully committed.      In this case, the defendant is also

 8   charged in Counts Two through Eight with attempting to

 9   export or cause to be exported goods and services in

10   violation of the IEEPA and the ITSR.

11               Note that Count Eight only charges the defendant

12   with an attempt to export.

13               The defendant can be found guilty of an attempt

14   to commit these offenses if the government proves the

15   following two elements beyond a reasonable doubt.

16               First, that the defendant knowingly and

17   willfully intended to commit the offense of exporting or

18   causing to be exported, goods or services from the United

19   States to Iran without a license as charged and, second,

20   that the defendant did some act that was a substantial

21   step in an effort to bring about or accomplishing the

22   crime.

23               Mere intention to commit a specific crime does

24   not amount to an attempt.       In order to convict the

25   defendant of an attempt, you must find beyond a reasonable




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 1   doubt that the defendant intended to commit the crime

 2   charged and that he took some action which was a

 3   substantial step towards the commission of that crime.

 4               In determining whether the defendant's actions

 5   amounted to a substantial step toward the commission of

 6   the crime, it's necessary to distinguish between the mere

 7   preparation on the one hand and the actual doing of the

 8   criminal deed on the other.

 9               Mere preparation which may consist of planning

10   the offense or devising or obtaining or arranging a means

11   for its commission is not an attempt, although some

12   preparation may amount to an attempt.         The acts of a

13   person who intends to commit a crime will constitute an

14   attempt when the acts themselves clearly indicate an

15   intent to commit the crime and the acts are a substantial

16   step in a course of conduct planned to culminate in the

17   commission of the crime.

18               With respect to Counts Two through Eight, if you

19   do not find beyond a reasonable doubt that the defendant

20   himself committed the offenses charged in any of those

21   counts, you may under certain circumstances described

22   below, still find the defendant guilty of the charged

23   crime as an aider or abettor.

24               Section 2 of Title 18 of the United States Code

25   provides as follows:      Whoever commits an offense against




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 1   the United States or aids, abets, counsels, commands,

 2   induces or procures its commission is punishable as a

 3   principal.

 4                Whoever willfully causes an act to be done which

 5   if directly performed by him or another would be an

 6   offense against the United States is punishable as a

 7   principal.

 8                Under the aiding and abetting statute, it is not

 9   necessary for the government to show that the defendant

10   himself physically committed the crime with which he is

11   charged in order for you to find him guilty.          A person who

12   aids or abets another to commit an offense is just as

13   guilty of that offense as if he committed it himself.

14   Accordingly, you may find the defendant guilty of the

15   offense charged if you find beyond a reasonable doubt that

16   the government has proved that another person actually

17   committed the offense with which the defendant is charged

18   and that the defendant aided or abetted that person in the

19   commission of the offense.

20                As you can see, the first requirement is that

21   you find that another person has committed the crime

22   charged.     Obviously, no one can be convicted of aiding or

23   abetting the criminal acts of another if no crime was

24   committed by the other person in the first place.           But if

25   you do find that a crime was committed, then you must




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 1   consider whether the defendant aided or abetted the

 2   commission of that crime.

 3                In order to aid or abet another to commit a

 4   crime, it is necessary that the defendant willfully and

 5   knowingly associated himself in some way with the crime

 6   and that he willfully and knowingly participated in the

 7   crime by doing some act to help make the crime succeed.

 8                Participations in a crime is willful if action

 9   is taken voluntarily and intentionally or in the case of a

10   failure to act with the specific intent to fail to do

11   something the law requires to be done; that is to say,

12   with a bad purpose either to disobey or disregard the law.

13                The mere presence of the defendant where a crime

14   is being committed, even coupled with the knowledge by the

15   defendant that a crime is being committed or the mere

16   acquiescence by a defendant in the criminal conduct of

17   others, even with guilty knowledge, is not sufficient to

18   establish aiding and abetting.        The aider and abettor must

19   have some interest in the criminal venture.

20                To determine whether a defendant aided or

21   abetted the commission of the offense, ask yourself these

22   questions:     Did he participate in the crime charged as

23   something he wished to bring about?         Did he associate

24   himself with criminal venture knowingly and willfully?

25   Did he seek by his actions to make the criminal venture




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 1   succeed?    If he did, then the defendant is an aider and

 2   abettor and, therefore, guilty of the offense.

 3   Alternatively, the defendant is also guilty if he

 4   willfully caused the offense.

 5               The meaning of the term "willfully caused" can

 6   be found in the answers to the following questions:

 7   First, did the defendant take some action without which

 8   the crime would not have occurred?        Second, did the

 9   defendant intend that the crime would actually be

10   committed by others.

11               If you are persuaded beyond a reasonable doubt

12   that the answer to both of these questions is yes, then

13   the defendant is guilty of the crime charged just as if he

14   himself had actually committed it.        It is immaterial

15   whether the person who actually did the act is guilty or

16   innocent.

17               If you determine that the defendant neither

18   aided or abetted the commission of an offense or willfully

19   caused another to commit the offense, then the defendant

20   is not guilty under this statute.

21               The question of possible punishment of the

22   defendant is of no concern to you, the jury, and should

23   not in any sense enter into or influence your

24   deliberations.     The duty of imposing sentence rests

25   exclusively with the Court.       Your function is to weigh the




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 1   evidence in the case and to determine whether or not the

 2   defendant is guilty beyond a reasonable doubt solely on

 3   the basis of the evidence.       Under your oath as jurors, you

 4   cannot allow a consideration of the punishment which may

 5   be imposed upon the defendant if he is convicted to

 6   influence your verdict in any way or in any sense to enter

 7   into your deliberations.

 8               The government to prevail must prove the

 9   essential elements by the required degree of proof beyond

10   a reasonable doubt, as already explained in these

11   instructions.     If it succeeds, your verdict should be

12   guilty.     If it fails, it should be not guilty.       To report

13   a verdict, it must be unanimous.

14               Your function is to weigh the evidence in the

15   case and determine whether or not the defendant is guilty

16   solely on the basis of the evidence.

17               Each of you is entitled to your own opinion.

18   Each should however exchange views with your fellow

19   jurors.     That is the very purpose of jury deliberation, to

20   discuss and consider the evidence, to listen to the

21   arguments of your fellow jurors, to present your

22   individual views and to consult with one another and to

23   reach an agreement based solely and wholly on the evidence

24   if you can do so without violence to your own individual

25   judgment.




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 1                Each of you must decide the case for yourself

 2   after consideration with your fellow jurors of the

 3   evidence in the case.      You should not however hesitate to

 4   change your opinion which after discussion with your

 5   fellow jurors appears erroneous.        However, if after

 6   carefully considering all the evidence and the arguments

 7   of your fellow jurors, you entertain a conscientious view

 8   that differs from the others, you are not to yield your

 9   conviction simply because you are outnumbered.

10                Your final vote must reflect your conscientious

11   conviction as to how the issues should be decided.           Your

12   verdict, whether it's guilty or not guilty must be

13   unanimous.

14                When you go into the jury room and before you

15   begin your deliberations, you should select someone to be

16   your foreperson.     The foreperson speaks for you whenever

17   you communicate with the Court.        If you need to

18   communicate with me, the foreperson will sign a note to

19   me, hand it to the court security officer during your

20   deliberations.     A verdict form has been prepared for your

21   convenience.     I'm going to go over that with you in just a

22   minute.    You will take this form to the jury room and when

23   you have reached unanimous agreement as to your verdict,

24   you will have your foreperson fill it in and then date and

25   sign the form.




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 1               After you have completed the verdict form,

 2   please advise me by sending a note through the court

 3   security officer that you have reached a verdict.           When I

 4   receive that note, I shall have you return your verdict

 5   here in the courtroom.

 6               If it should be necessary for you to communicate

 7   with me, it must be in writing, signed by your foreperson

 8   and given to a court security officer.         I will respond to

 9   any question or requests you have made as promptly as

10   possible either in writing or by having you return to the

11   courtroom so I can speak with you in person.          In any

12   event, do not tell me or anyone else how the jury stands

13   on the issue of the defendant's guilt until after a

14   unanimous verdict has been reached.

15               Now the verdict form is very straightforward.

16   It has Verdict 1, how do you find the defendant, Ali

17   Saboonchi, as to Count One, conspiracy to export to an

18   embargoed country?      Not guilty or guilty?      And it does

19   that going through each and every one of the separate and

20   individual counts in the case.        At the bottom, if you

21   reach a unanimous verdict as to whatever it is as to the

22   above counts, it's dated and signed by your foreperson.

23   And when you have reached that verdict, you then notify

24   the security officer who will be sitting outside of where

25   you deliberate to make sure that you are not bothered by




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 1   anyone and then we'll bring you back in and receive your

 2   verdict.    Now let me see is the -- have they brought the

 3   lunch?

 4               THE CLERK:    Yes, they have.

 5               THE COURT:    Okay.   Great.

 6               The closing arguments of the lawyers are where

 7   they sum up the evidence and argue to you what they think

 8   they have proved.      I want to make sure that you can hear

 9   the United States and the defendant and then any final one

10   at one time, not break for lunch.          And by happy

11   coincidence, it's about 12:35.        So you might be a little

12   bit hungry.     We are going to break for only 30 minutes.

13   The lunch is back there.       So as they used to say when I

14   was in the army, put it in your mouth in the room and chew

15   it when you come back.      No, you don't have to quite do it

16   that way.     But we want to take a very brief break and come

17   back and then let the lawyers argue from all the way

18   through without any interruption.          So we'll give you that

19   lunch break now.     And once that's done, we'll be back here

20   at five minutes after 1 and we'll have the actual

21   argument.

22               (Jury excused.)

23               THE COURT:    Okay.   Folks, we are going to

24   reconvene promptly and I mean promptly at five minutes

25   after 1.




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 1               (Lunch Recess.)

 2                             AFTERNOON SESSION

 3               THE COURT:    Shall we bring the jury in?

 4               MS. MANUELIAN:     Yes, Your Honor.

 5               MS. OYER:    Yes, Your Honor.

 6               (Jury present.)

 7               THE COURT:    All right.    Everybody be seated,

 8   please.    Thanks so much, ladies and gentlemen, for cutting

 9   your lunch break short to allow us to proceed.

10               Ms. O'Malley, do you want to proceed?

11               MS. O'MALLEY:     Yes, Your Honor.

12               May it please the Court.      Counsel, ladies and

13   gentlemen of the jury, we all use words to convey meaning.

14   As a general rule, we say what we mean and we mean what we

15   say and that is exactly what the defendant did in hundreds

16   of emails and chats when you saw over the course of this

17   trial.    Those documents, ladies and gentlemen, tell us

18   exactly what the defendant was thinking at the time he

19   engaged in the various transactions that you've heard

20   about over the two weeks.       Those documents tell us that

21   the defendant was obtaining industrial parts in the United

22   States with the intent to send them to his friends in

23   Iran.

24               Those emails and chats tell us that he could not

25   reveal the true objectives of the companies from which he




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 1   was getting parts because he knew that would shut down the

 2   transaction because he knew he was engaged in unlawful

 3   conduct.    Those emails and chats tell us that the

 4   defendant lied to multiple people to get the parts he

 5   needed quickly to his friends in Iran.         And those emails

 6   and chats also tell us the defendant was fully aware of

 7   the risks that were associated with the conduct that he

 8   engaged in, the risk of getting caught.         As you'll recall,

 9   it was the defendant's words that "the risk of what I

10   could do can cost me my life so you tell me what it is

11   worth."    These were the defendant's own words in December

12   of 2012 in response to conspirator, Mehdi Mohammadi,

13   asking the defendant for the percentage to add for the

14   defendant's cut in engaging in the transaction.           This is

15   just one of many examples of emails and chats of the

16   defendant that demonstrate that the defendant knowingly

17   and willfully violated the law.        That he knowingly and

18   willfully evaded the sanctions that the United States put

19   in place against Iran.

20               And you spent more than two days listening to

21   Special Agent Abagnale read hundreds of emails and chats

22   and we'd like to thank you for your patience and your

23   diligence in looking at and listening to reading those

24   many, many documents.      It is these documents that allow

25   you to see the defendant's own words.         And these are his




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 1   own words at the time when he was engaged in the

 2   transactions that were violating the law.

 3               To get a clear picture of what the defendant was

 4   thinking and how he was interacting with his

 5   co-conspirators, you only need to look at these documents.

 6   The hundreds of emails and chats you saw and that Agent

 7   Abagnale read demonstrate that the defendant obtained

 8   various industrial parts here in the United States with

 9   the knowledge that those parts were destined for Iran.              In

10   fact he told you that himself.        The evidence shows the

11   defendant lied to companies that were selling the products

12   because he knew that being truthful about the fact that he

13   was buying these parts with the intent to get them to Iran

14   would shut down the deals.       And the defendant knew in his

15   own words that it could cost him his life.          Now that

16   reaction may seem a bit over-dramatic.         It shows the

17   defendant knew that he engaged in unlawful behavior and he

18   was taking the risk that he would get caught doing it.

19   Ask yourself why the defendant would think there was any

20   risk at all in engaging in mere business transactions if

21   he didn't believe that he was violating the law.

22               Now I'd like to take some time to walk through

23   the facts of this case and put them in the context of the

24   law that the judge has given you.        Before we talk about

25   specific transactions or specific communications, I want




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 1   to briefly highlight a few of the big picture instructions

 2   that you should keep in mind as you're listening to the

 3   facts and as you think back over the evidence that you've

 4   heard from the last couple of weeks.

 5               Specifically, I ask you to keep in mind the

 6   judge's instructions on direct and circumstantial evidence

 7   and on intent.     Reading all the emails and chats that we

 8   looked at over the last two weeks make it clear that the

 9   defendant intentionally violated the law.          And you can use

10   your own reason, experience and common sense to infer that

11   from the defendant's own words.

12               Now as you will recall, Judge Grimm explained to

13   you that you can use both direct and circumstantial

14   evidence in reaching your conclusions.         Now direct

15   evidence is a witness who testified about what they saw,

16   heard or observed.      For example, Special Agent Kelly Baird

17   testified about particular documents that were seized

18   during the search warrant.       That would be direct evidence.

19   Circumstantial evidence is the evidence that is --

20   evidence that tends to prove a disputed fact by proof of

21   other facts.     And keep in mind that the law makes no

22   distinction between direct and circumstantial evidence.

23   You can consider both equally in reaching your verdict.

24   You may infer from the defendant's own words what he

25   intended or did not intend to do.        You can infer at a




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 1   minimum that he intentionally closed his eyes to the laws

 2   in place that governed his trade business despite multiple

 3   warning signs that the shipments that he was engaged in

 4   were unlawful.

 5               When viewing the hundreds of emails and text of

 6   the defendant, you get to decide based on applying your

 7   common sense the words before you what the defendant knew

 8   when he engaged in those transactions and you get to

 9   decide whether those documents show that the defendant had

10   the intent to break the law.

11               As we walk through some of those conversations

12   again in a moment and as you look at the defendant's

13   communications while you deliberate, ask yourselves based

14   on your reason and experience why the defendant says what

15   he does at the times that he says it.         Is he just using

16   simple words or shorthand or is he using words to convey

17   meaning that he actually wants to get across?          And then

18   ask yourselves when a defendant's statements -- whether

19   those statements are just a reflection of some sort of

20   mistake or misunderstanding or do these communications

21   instead show over and over again the defendant's

22   deliberate efforts to hide the true nature of the

23   transactions from those American companies who were

24   selling industrial parts because of his own knowledge that

25   he was breaking the law and providing goods and services




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 1   to his friends in Iran.

 2               And Judge Grimm instructed you that to find the

 3   defendant guilty of crimes for which he is charged, you

 4   have to find that he acted knowingly and willfully.           Now

 5   in the real world, people rarely tell you explicitly what

 6   their intent is.     Instead we figure out intent from

 7   people's actions, words and conduct.         And that same rule

 8   applies in criminal trials.       The defendant does not have

 9   to tell someone that he is willfully violating the

10   sanctions in place against Iran to be guilty of the crimes

11   charged.    Instead you can infer from the facts and

12   circumstances surrounding the various transactions that

13   are issue in this case.

14               You can also look at the way in which the

15   transactions were carried out to infer intent.          As Judge

16   Grimm instructed you, willful intent or guilty knowledge

17   may be inferred from the secretive or irregular manner in

18   which the transaction is carried out.

19               In this case, as we discuss the various facts,

20   you saw lots of examples where the defendant lied to

21   companies about who the end user was.         And ask yourself

22   why the defendant told these companies that he was keeping

23   these products domestically if he didn't believe there was

24   anything wrong with them ending up in Iran.

25               Keep in mind also that deliberately closing




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 1   one's eyes to what is otherwise obvious to him also allows

 2   you to infer intent.      Judge Grimm told you that if you

 3   find beyond a reasonable doubt that the defendant acted

 4   with a conscious purpose to avoid learning the truth or

 5   that the defendant's ignorance was solely and entirely a

 6   result of a conscious purpose to avoid learning the truth

 7   of the lawfulness of his conduct, then the knowledge

 8   requirement is satisfied.

 9               Recall also that the burden that the government

10   must prove to you is that the defendant acted willfully.

11   That does not mean that we have to show that he read or

12   was aware of any particular statute or regulation.           The

13   government must show that the defendant knew that his

14   conduct was unlawful.      You can infer the defendant's

15   knowledge from the surrounding facts and circumstances and

16   his efforts to hide the true nature of his transactions.

17               Just a couple more legal points before we get

18   into the facts.     First, it's important to remember the

19   judge's instructions that providing either goods or

20   services to individuals in Iran is illegal.          The defendant

21   provided services by helping his counterparts in Iran

22   obtain these products.      He exported the goods when he sent

23   those products overseas with the intent for them to end up

24   in Iran.

25               As you'll recall, an export is the act of




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 1   sending or carrying goods or merchandise out of the

 2   country with the intent that the goods reach another

 3   country and enter into its commerce.         Exportation occurs

 4   when the goods are transported out of the United States

 5   with the necessary intent whether or not they actually

 6   arrive at their destination.       Once those goods left the

 7   United States, when the defendant intended that they end

 8   up in Iran, he was exporting those goods.

 9               Now again remember that services also has been

10   defined for you.     The prohibition on the exportation of

11   supplied services applies to services performed on behalf

12   of a person in Iran or the government of Iran where the

13   benefit of such services is otherwise received in Iran if

14   such services are performed in the United States.           You saw

15   multiple examples of the defendant providing services.               As

16   you think back over the evidence presented in this case,

17   don't lose sight of the fact as well that the law

18   prohibits both of these things.        And the law also

19   prohibits indirect shipments through a third country.               You

20   saw multiple examples of the indirect shipments through

21   Dubai and through China.

22               And as even defense counsel told you in his

23   opening statement and you heard from the defendant himself

24   on the stand, a lot of the evidence in this case is not in

25   dispute.




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 1               Here are the undisputed facts.       The defendant

 2   grew up in Iran.     The defendant has family in Iran.        The

 3   defendant went to school and college in Iran.          The

 4   defendant has traveled back and forth between the United

 5   States and Iran.     And the defendant has friends in Iran.

 6   The defendant understandably considers Iran home based on

 7   where he grew up and where he has family ties.          The

 8   defendant is currently in a doctoral program in industrial

 9   engineering here in the United States.         There is no

10   dispute that there are U.S. sanctions in place against

11   Iran that prohibit the shipment of industrial parts or the

12   provision of services to Iranian nationals trying to get

13   those parts.

14               There is no dispute that the Office of Foreign

15   Assets Control did not provide any authorization for the

16   defendant or any of his co-conspirators to engage in

17   shipping these parts to Iran.

18               There is no dispute that Iranian companies

19   sought various industrial parts that were ordered here in

20   the United States.

21               There's no dispute that on many occasions, the

22   defendant reached out to American companies and ordered

23   the very same industrial parts that were sought by these

24   Iranian companies and had those parts shipped to various

25   addresses in Maryland.      There's no dispute that on many




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 1   occasions, the defendant then shipped those very same

 2   parts either to Dubai or China.        The defendant himself

 3   admitted that.

 4                There is no dispute that the defendant knew the

 5   products were going to Iran.       Again, the defendant himself

 6   told you that from the witness stand.

 7                So the main question that leaves you to answer

 8   is did the defendant do all these things knowingly and

 9   willfully?     Did he do them knowing that his conduct was

10   unlawful taking into account all the facts and

11   circumstances surrounding his actions and keeping in mind

12   that the government does not have to prove that he read

13   any particular statute, regulation, or OFAC website?

14                As I previously mentioned and as the judge

15   instructed you, consciously avoiding the truth regarding

16   unlawful conduct is knowledge.        As we review each

17   transaction charged in the indictment, it's important not

18   to lose sight of the bigger picture showing what the

19   defendant knew throughout the timeframe of the conspiracy

20   by focusing on his own words and his own actions.           That is

21   the best evidence of intent, ladies and gentlemen, is what

22   he said at the time he was engaged in these transactions.

23                So as we walk through these various

24   transactions, you reflect on what you heard and saw, ask

25   yourselves why it would be necessary for the defendant to




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 1   hide the fact that the end user of these products was Iran

 2   if he didn't believe he was doing anything wrong.           Ask

 3   yourselves why the defendant needed to say the products

 4   were for domestic use or why he needed to have a domestic

 5   company to order these products when he knew he was

 6   shipping every one of these products to end up in Iran.

 7   Is it because it's just a simpler way to get the product

 8   without all the bureaucracy or is it because he knew he

 9   was engaged in unlawful conduct by exporting the products

10   to Iran?    And ask yourselves why the defendant never once

11   told any company in the United States that he was sending

12   these things to Iran.

13               Evidence of the defendant's knowledge coincides

14   with evidence of the defendant's start in the trade

15   business as you've seen in the evidence throughout trial.

16   We see communications between the defendant and his

17   associates in Iran in which individuals in Iran ask the

18   defendant to obtain industrial components and the

19   defendant agrees to provide those services for them.              He

20   also demonstrated over and over again that he purposefully

21   withheld information about his true intentions and he also

22   demonstrated that he knew that there were companies that

23   would not sell to Iran.

24               As far back as September 1, 2009, in

25   communications with Mohsen Hosseyni, the defendant learned




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 1   that FIFE wouldn't sell to Iran.        As you will recall, this

 2   was in context of a transaction where Hosseyni was

 3   requesting prices for a camera system used in determining

 4   a sheet hedge in a factory in technical terms.          Hosseyni

 5   explained to the defendant in an email that Hosseyni

 6   collected information from inside the Mobarick steel

 7   factory, but we can't tell the other side these things.

 8   The defendant communicated with someone to get

 9   clarification on pricing and specifications and Hosseyni

10   then informed the defendant that he wanted the defendant

11   to go ahead and buy this camera system from FIFE.

12               Then on October 11, 2009 in an email from

13   Hosseyni, he said "I want to purchase, can you or would

14   you be afraid?"     Now, ladies and gentlemen, why would the

15   defendant have any reason to be afraid to make a purchase

16   of a camera if he didn't believe he was doing anything

17   wrong.

18               Now the defendant gave you his own

19   interpretation of what Hosseyni might have meant by asking

20   the defendant if he would be afraid.         But you are the

21   judges of the facts.      You are the judges of the

22   credibility of the witnesses and you decide what makes

23   sense in the context of all these conversations.

24               Recall also what the defendant asked in a later

25   email regarding the same transaction.         On November 10,




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 1   2009, the defendant asked "should I make the purchase here

 2   for my own address and then mail it or buy it from Europe

 3   to Iran's address?      Should it be routed through Dubai or

 4   direct?    My preference would be Dubai."       Again, ask

 5   yourselves why the defendant would have a preference to

 6   ship in some indirect manner if he didn't believe there's

 7   anything wrong with sending these parts to Iran?

 8                Now let's talk briefly about another one of the

 9   defendant's associates named Mohammad Nemati.          On

10   October 29, 2009, Nemati asked the defendant may I be your

11   partner in Iran.     The defendant made clear to Nemati that

12   the defendant was in trade and would get whatever he

13   needed.    As you can see from Government's Exhibit 4 and

14   Government's Exhibit 5, the defendant said "whoever in

15   Iran wants something from here, I find it for them.             Yes,

16   you, too, like the rest can look for customers.             Whatever

17   they want, we buy it for them and we send it."          The

18   responses that the defendant gave to Nemati in these

19   emails show exactly what role the defendant played in

20   various transactions that you've heard about throughout

21   this case.     He was the guy who would get the things in the

22   United States and find a way to get them out of the United

23   States knowing they were going to Iran.         You will see when

24   we walk through the various transactions that the

25   defendant took a number of steps as I mentioned already to




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 1   hide the true nature of these transactions and that's

 2   because he knew he was engaged in unlawful conduct.

 3               This is the same role the defendant played with

 4   his co-conspirator, Arash Rashti Mohammad, which I'll

 5   refer to as Rashti for short.        In November of 2009, Rashti

 6   asked the defendant to follow up with him about

 7   negotiations about his trading company.         The defendant

 8   agreed to enter into business with Rashti.          On

 9   November 20, 2009, he said I will start with a few

10   projects until we get a better business perspective of

11   each other.     The defendant and Rashti went on to engage in

12   numerous transactions that you heard about in this trial.

13               Now pay attention to the early emails from

14   Rashti to the defendant in 2009 and 2010.          As you saw,

15   Rashti signs off every email with the signature block of

16   his company in Iran.      There can be no doubt that the

17   defendant knew that he was forming a business relationship

18   with an individual in Iran.       There can be no doubt that

19   the defendant knew his role was to obtain industrial parts

20   here in the United States for customers in Iran.

21               In March 2010, Rashti actually sent a list of

22   his customers to the defendant.        That was Government's

23   Exhibit 41 with a list of those various customers.

24               Now as you've heard during Special Agent

25   Abagnale's testimony, those customers included




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 1   petrochemical companies, a steel company.          As you can see

 2   from the list itself, a gas verification company and

 3   shipping companies.      The list was sent out several months

 4   after Rashti and the defendant had already been engaging

 5   in multiple discussions about the trade business.             The

 6   defendant learned early on in this foray with the trade

 7   business with his Iranian counterparts that shipping

 8   products overseas would cause American companies to raise

 9   questions.

10                In a November 23, 2009 email, the defendant

11   explained to Rashti, "I had a hard time to get a quote for

12   these.     If they find out it is for overseas, they do not

13   sale and if not, they need a company name.          After I

14   register a company, I make them buy to my address over

15   here."     You saw emails showing that's how the defendant

16   provided services to Rashti.       He sought price quotes for

17   industrial parts and gave them to Rashti.          And in the end,

18   he ended up opening a company to be able to deal with some

19   of the questions that were being asked.

20                Now at the time the defendant started to engage

21   in these transactions with Rashti, the defendant was also

22   receiving information that American companies or companies

23   around the world, frankly, were not interested in selling

24   to Iran.     In fact, the defendant got specific information

25   from someone at the place where he interned at Kavoosh




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 1   Niroo that at least G.E. will not do business with an

 2   entity in Iran.     It was Government's Exhibit 23 on

 3   December 23, 2009, the G.E. email that indicated we can

 4   not grant your request because of the G.E. policy that we

 5   are not allowed to do business with an entity in Iran.

 6               Recall, ladies and gentlemen, what the defendant

 7   did once he saw this email.       He didn't ask questions.

 8   Instead, he turned around six days later and lied to G.E.

 9   in the Netherlands about getting their name from someone

10   at G.E. in the U.S. in order to order the very same part

11   that G.E. had already told Kavoosh Niroo they could not

12   send to Iran.     That, ladies and gentlemen, is reflected in

13   Government's Exhibit 23.1.

14               Now let's look more at Ace Electric Company, the

15   company the defendant opened further demonstrates that he

16   was trying to hide the nature of his business.          That he

17   was trying to legitimize in some way these transactions to

18   make the companies that he was ordering from think he was

19   ordering for local use.

20               Now the defendant did in fact disclose on his

21   registration application on December 18, 2009 that this

22   was a company that was supposed to be for trading export

23   and import, which is consistent with the emails he had

24   with Rashti who told him to open this company for that

25   very purpose.     You saw emails communicating that fact.




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 1   You also saw that all the domestic electrical work that

 2   the defendant did was in his own name and not the name of

 3   Ace Electric.

 4               Now recall, ladies and gentlemen, that the

 5   defendant told you at the beginning of his direct

 6   examination that he knew that the products he was

 7   obtaining for Rashti were going to Iran or at least there

 8   was a very good possibility that they were going to Iran.

 9   In fact as you will recall from Government's Exhibit 41,

10   the defendant knew exactly who in Iran was going to be

11   receiving those products.

12               The defendant also told you that he knew that

13   the products he was getting from Mohammadi and Naghshineh

14   would end up in Iran.      Of course, the emails made that

15   pretty clear before the defendant ever took the stand.

16               The defendant's guilty knowledge and willful

17   intent is abundantly clear by the manner in which he

18   engaged in each and every one of these transactions.           It's

19   also clear that these transactions were part of a broader

20   conspiracy as charged in Count 1 to unlawfully export

21   these goods and services to Iran.        The defendant

22   repeatedly engaged in a pattern of conduct designed to

23   hide his intentions, not because he did not intend to

24   break the law, but because he did not want to get caught.

25               Think back to the Microstrain transaction.         That




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 1   was one involving an individual Hamidreza Dastjerd.               This

 2   is one where the defendant got the Department of Commerce

 3   form where they were asking for the ultimate purchaser

 4   information and he didn't fill it out.         Instead he

 5   explained to Dastjerd in a September 28, 2010 email that

 6   "as soon as they find out the goods are for abroad, they

 7   don't sell.     I had to use gimmicks to get prices."         You

 8   saw the defendant using those gimmicks over and over again

 9   to intentionally disregard the law and deliberately

10   disregard the facts showing that he was violating the law.

11   And it was this conscious purpose to avoid learning the

12   truth that shows his knowledge, ladies and gentlemen.

13               And even if you want to believe that he did not

14   know the specifics of a particular regulation or the

15   specifics of the sanctions in place, at a minimum, he

16   repeatedly acted with a conscious purpose of avoiding

17   learning the law in the face of repeated information

18   showing that maybe he should check it out.

19               For example, the defendant was questioned on

20   several occasions about the end user and he repeatedly

21   said it was something other than Iran.         The defendant

22   repeatedly received export warnings and notices on emails

23   and signature blocks, right below the signature block and

24   the terms and conditions attached to the contracts and he

25   conveniently ignored them and did not read them.            The




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 1   defendant was told that G.E. would not sell to Iran and

 2   that Package Gas Systems would not give him a quote for

 3   parts that were going to Iran.

 4                Now instead of asking why or trying to look into

 5   the law, he instead made a conscious decision to refuse to

 6   ask any questions to learn more about what exactly he

 7   could and could not do and that's because he already knew

 8   he was breaking the law.

 9                The defendant on more than one occasion talked

10   about the need to factor in risks into the costs because

11   of the questions that were being raised.         When I first got

12   up here, we talked about the point in December of 2012

13   where the defendant emailed his Iran associate that "the

14   risk of what I do can cost me my life."

15                That was not his only reference to risks.        For

16   example, in September of 2012, an email exchange with

17   Mohammadi talking about a Pfeiffer vacuum quote, the

18   defendant noted "there is also the cost of the risk factor

19   over here.     The receipt and transfer of money above a

20   certain amount raises suspicion and headache."

21                Recall also in the same email, the defendant

22   also talked about delivery in your town and asked please

23   don't mention its name and talked about masking IP

24   addresses to make it look like communications were coming

25   from China.




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 1               Ladies and gentlemen, it's not an innocent

 2   mistake or a good faith misunderstanding of the law to

 3   repeatedly be confronted with information that points out

 4   that companies cannot sell to Iran or that shipments need

 5   to be indirectly routed and just bury your head in the

 6   sand.    The defendant cannot sit back and claim, well, I

 7   did not actually read the sanctions so I'm ignorant of the

 8   law and that means I'm not guilty.        The government does

 9   not have to prove that he read any regulations.

10               It is no accident that the defendant starts

11   talking about risks in these emails we have seen when he's

12   engaged in transactions in the latter part of 2012.             It is

13   reasonable for you to infer that the reason he starts

14   talking about risks in the latter half of 2012 is because

15   in April of 2012, he had an encounter with two Homeland

16   Security agents that told him that he should be careful

17   about engaging in transactions with Iran and that he

18   should check out the OFAC website.        Instead of doing that,

19   he continued to engage in illegal conduct.          He did at

20   least three additional transactions in 2012 after

21   specifically being told that there is such a thing as OFAC

22   even if you accept that he didn't know it before.           And

23   that is why he had to factor in risk into his transaction

24   fee, into his cut.

25               You saw plenty of examples where the defendant




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 1   knew how to use the Internet to do research.          He

 2   researched companies to get price quotes for his friends

 3   in Iran.     He researched Maryland state laws when he was

 4   registering his business.       He used Ebay and company

 5   websites to research and purchase products on numerous

 6   occasions.     And the defendant also told you that he

 7   repeatedly asked for help with his school work.            Yet, when

 8   it comes to his trade business or the warning flags that

 9   he engaged in unlawful activity are repeated and apparent,

10   he conveniently does not research the law and asks no one

11   to help him find out if what he's doing is okay.            That

12   willful blindness of the law does not negate his knowledge

13   of his unlawful conduct.

14                Now let's go over some specific charges that are

15   set out in this case.       Count 1 charges conspiracy to

16   export to an embargoed country and that embargo country

17   obviously we have been talking about is Iran.          And Counts

18   2 through 8 charge unlawful export to an embargoed country

19   as well.     I'd like to remind you of the elements of

20   conspiracy as you've heard them from Judge Grimm.

21                Element one.    That there was an agreement

22   between two or more persons to knowingly and willfully

23   export or cause to be exported goods or services from the

24   United States without obtaining the required licenses and

25   authorizations from OFAC.       Well, we know the goods were




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 1   exported from the United States and that there was no

 2   license.

 3               Element two is the defendant became a member of

 4   the conspiracy knowing at least one of its objects and

 5   intending to help to accomplish it.         Well, we know that

 6   the defendant knew that the object of the conspiracy was

 7   to get goods, get industrial parts in the United States

 8   and get them into Iran.

 9               As I'm sure you noticed, the evidence introduced

10   through the hundreds of documents and emails follows a

11   similar pattern for every one of the transactions.           A

12   company in Iran such as KALA Petrochemical or Araak

13   Petrochemical provides an inquiry to someone in Iran for

14   some industrial parts.      That person in Iran, whether

15   Rashti, Naghshineh or Mohammadi contacts the defendant and

16   provides him a list of the very same industrial parts.

17   The defendant reaches out to companies in the United

18   States to get quotes for those very same parts.

19               The defendant communicates the price quote back

20   to Iran.    An Iranian customer accepts the price quote.

21   The defendant then buys the parts and has them shipped to

22   various addresses in Maryland, in most cases a couple of

23   times directly to Dubai.       The defendant then ships the

24   products overseas to China or Dubai.         And the defendant's

25   Iranian co-conspirator then gets the product from its




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 1   first destination to Iran.       That is the nature of the

 2   conspiracy and the defendant knew that entering into it.

 3               Now R.G. Group and Collins are the only

 4   exceptions to this general framework where the product is

 5   shipped directly to Dubai from the companies.          In the case

 6   of Collins, the defendant's only role is to pay for the

 7   transaction.     Rashti and his associates have most of the

 8   communication with Collins.       And when they have difficulty

 9   arranging payment for the order, they involve the

10   defendant because he's in the U.S. and can pay for the

11   products more easily.

12               All of the transactions also have a fact in

13   common that the defendant never reveals the true end user

14   to any of these companies.       The means of carrying out

15   these transactions show that the defendant agreed with his

16   Iranian counterparts to export or cause to be exported

17   goods or services from the United States to Iran.           You've

18   heard from John Hinton at OFAC that there were no

19   licenses, there was no authorization to ship industrial

20   parts to Iran.

21               As I mentioned, the defendant knew the purpose

22   of the conspiracy and the defendant was knowingly and

23   willfully violating the law when he was exporting these

24   items.

25               The deceptive manner in which he conducted the




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 1   transactions and all of the other evidence of his own

 2   words and actions provide plenty of evidence from which

 3   you can infer his intent and that was the intent to engage

 4   in the unlawful export of these products to Iran and help

 5   provide services to his Iranian counterparts that were

 6   still in Iran and couldn't do these tasks themselves.

 7               Now Counts 2 through 8 charge the defendant with

 8   seven different counts of unlawful export to an embargoed

 9   country, again, Iran.      The elements in this case are,

10   first, that the defendant violated, attempted to violate

11   or caused a violation of the Iran Transactions and

12   Sanctions Regulations, namely, a particular section,

13   560.204.    And second, that the defendant did so knowingly

14   and willfully.

15               Now as Judge Grimm already told you, it is a

16   violation of the Iran Transactions and Sanction

17   Regulations to export, re-export, sell or supply goods or

18   services directly or indirectly from the United States to

19   Iran and this includes export through a third country such

20   as the UAE or China when someone exports to those

21   countries knowing that the goods or services are intended

22   for Iran.

23               Now I want to start by making sure everyone

24   knows which company's transaction goes with which count

25   because that's one thing that is probably a mystery you




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 1   realize from looking at the instructions.          And I'm

 2   specifically referencing Counts 2 through 8 that are

 3   quoted in the Jury Instruction Number 38 on pages 47 to 49

 4   of your instructions.

 5               Now that list there is a little bit small.         I

 6   don't know if you can see it on your screen, but I'll walk

 7   through them slowly so that you are able to know which

 8   transaction goes with which count.

 9               Count 2 is the company, Geiger.        That was the

10   company from which cyclone separators were ordered.           And

11   the span of the transaction goes from February of 2010 to

12   January of 2011.     As you will recall in this transaction,

13   Rashti got a request from the Shazand Araak Oil Refining

14   Company in Iran seeking cyclone separators.          Rashti asked

15   the defendant to get a quote.        The defendant gets his

16   quote.     The defendant then falsely advises Geiger that

17   these products are for use in the United States when he

18   was specifically asked whether the products were for

19   domestic use and if they weren't, to provide an end user.

20   And then the defendant receives the items and causes them

21   to be shipped to the United Arab Emirates.          And Rashti, of

22   course, then arranges to have those products delivered to

23   Iran.     That's Count 2.   And as I said, the company for

24   that one was Geiger and you've heard from John Elgert at

25   Geiger.




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 1                Count 3 was Rosemount/Emerson and that was for

 2   thermocouples and it's from the timeframe of June 2010 to

 3   February of 2011.      In that case, Rashti got a request from

 4   Petrochemical KALA Company in Iran for thermocouples.

 5   Rashti asked the defendant to get a price quote here in

 6   the U.S.     The defendant ordered those thermocouples.            The

 7   defendant falsely told the company that the ultimate

 8   destination was Turkey and then he told the company to

 9   send it to his Maryland address.        And when the defendant

10   got the product, he shipped it to the United Arab

11   Emirates, again to Rashti.       Rashti confirmed delivery of

12   those parts, deposited money into the defendant's wife's

13   account in Iran and then arranged for the thermocouples to

14   be delivered to the United Arab Emirates to Iran.             So

15   that's Count 3, Rosemount/Emerson.

16                Count 4 is Flowtech.     And that is the span of

17   time from December 2011 to November -- December 2010 to

18   November of 2011.      In that case, Araak Petrochemical

19   Company asked Rashti to quote flow meters.          One of

20   Rashti's employees forwarded that request to the

21   defendant.     Not specifically the request from Araak

22   Petrochemical Company to be clear, but the request for the

23   particular parts.      The defendant asked for the quote from

24   Flowtech.     Then the defendant purchased three flow meters

25   and he got reimbursed from Rashti for his costs.             He




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 1   received those flow meters from Flowtech and shipped them

 2   to Rashti in the United Arab Emirates for delivery to

 3   Iran.

 4               Count 5 is Proconex for actuator springs.           This

 5   spanned from January 2011 to April of 2011.          The

 6   Petrochemical KALA Company in Iran seeks a price quote

 7   from Rashti for an actuator spring.         Then one of Rashti's

 8   DSAZ's employees emails the defendant to get a price

 9   quote.    The defendant gets that quote and completes the

10   order.    Then ships the actuator springs to Rashti in

11   United Arab Emirates for transport to Iran.

12               Count 6 is the company, Airline Hydraulics and

13   that was pumps and valves and the timeframe between

14   July 2012 and October of 2012.        You may recall that

15   Mohammadi asked the defendant to fill an order for a

16   liquid pumps and check valve.        And defendant ordered the

17   pump and check valves from Airline Hydraulics and received

18   the items in Maryland, two different shipments.            He

19   arranged with Naghshineh to have the items shipped to Iran

20   through China and he shipped packages and then made

21   arrangements for Naghshineh to get the packages to

22   Mohammadi for delivery in Iran.

23               If you recall, ladies and gentlemen, this is the

24   transaction where they're talking about smugglers and this

25   is also the transaction where Mohammadi writes Iran as




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 1   I*R*A*N or I-R-A-N.      This transaction started just two

 2   months after the defendant was told by Homeland Security

 3   Agents Kelly Baird and Tonya Matney to consult OFAC before

 4   engaging in transactions in Iran.

 5               Count 7 involves two companies.        Edwards and

 6   Electronic Goldmine and it involves such parts as LCD

 7   modules, pumps and various other assorted industrial parts

 8   and this spanned from December 2012 to February of 2013.

 9   Naghshineh asked the defendant to purchase LCD modules and

10   magnifying lenses as well as carbide end mills or drill

11   bits that were sold on Ebay.       The defendant purchased

12   these items and had them shipped to his Parkville,

13   Maryland residence.      The defendant then told Naghshineh

14   that Mohammadi had orders, too, that were from Edwards and

15   that he would combine both of those together and ship them

16   to China.

17               After receiving the Edwards parts in multiple

18   shipments, he combined all the packages together, arranged

19   to get them to China through an address provided by

20   Naghshineh and then Mohammadi made arrangements to pay the

21   defendant for the Edwards portion of the transaction and

22   the defendant also worked with Naghshineh to calculate

23   shipment expenses from China to Iran.         In fact that added

24   into the cost of the transaction.        Again this transaction

25   happened after the defendant met with Special Agent Baird




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 1   and Special Agent Matney.

 2                Finally, Count 8 involves Frham, the radio

 3   iodine air sampling cartridges between December 2012 and

 4   March of 2013.     Mohammadi asked the defendant to order him

 5   some radio iodine air sampling cartridges for use in Iran.

 6   The defendant goes to multiple companies to try to get

 7   quotes for the Radeco cartridges, which is the actual

 8   manufacturer that the Iranian customer originally

 9   requested.     As you will recall, when he went to Radeco,

10   the actual manufacturer, he told them he was buying the

11   product for an address in Baltimore or he wanted to ship

12   to an address in Baltimore and he believed the customer

13   was in Hong Kong.      And Radeico refused to sell to him.

14   And he told Mohammadi that if the product is not for

15   domestic use, Radeico won't sell.

16                Undeterred, the defendant went out to multiple

17   other countries trying to find someone else that would

18   sell the Radeico parts to him anyway.         And he got quotes

19   from various companies and ended up purchasing from Frham.

20   He paid for the cartridges and arranged for Frham to ship

21   the cartridges to him in Maryland and those cartridges

22   arrived as you heard after he was arrested.          And this is a

23   third transaction after the defendant met Special Agent

24   Baird and Special Agent Matney.

25                Now this last one is an attempt charge because




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 1   the defendant didn't have the chance to actually ship them

 2   outside the United States for arrival in the UAE and later

 3   Iran or China and later Iran.        As the judge instructed

 4   you, that means the government has to prove that the

 5   defendant intended to commit the offense of unlawful

 6   export to Iran and take a substantial step in bringing

 7   about the crime.     Well, we know his intent from the

 8   multiple other transactions that came before it.           And the

 9   substantial step that he took was actually ordering and

10   receiving the product at his home.

11               For all these transactions, there's no dispute

12   that the defendant violated the Iran Transactions and

13   Sanctions Regulations insofar as that he provided services

14   to individuals in Iran and obtained industrial parts for

15   shipment to Iran without a license.         So the only dispute

16   is about whether the defendant did this knowingly and

17   willfully in violation of the law.

18               And as I had discussed at some length, numerous

19   facts from which you can infer knowledge have been

20   presented to you throughout the last two weeks.

21               Now in addition to the charged counts, you heard

22   about a couple of other different transactions that just

23   help show the existence of the conspiracy.          I just want to

24   briefly go over those.      These are encompassed within Count

25   1 with a broader understanding of what the defendant was




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 1   doing.

 2               I already mentioned Collins, which took place

 3   between August 2010 and May of 2011.         In that case, the

 4   Petrochemical KALA Company asked Rashti to get a quote for

 5   micron stainless steel filter elements and Rashti arranged

 6   for placement of the order.       And someone at the B & A

 7   Trading Company was involved in actually placing that

 8   order.    And because they were having trouble getting

 9   payment, they involved the defendant simply in the payment

10   side of that transaction.

11               There was also a request from PKC for Rashti to

12   get bypass filters.      Rashti placed that order and again

13   asked the defendant to pay for those products.

14               Now keep in mind that neither Rashti nor anyone

15   else told Lisa Harvey or anyone else at Collins that these

16   products were destined for Iran.

17               You'll also recall there was a transaction

18   involving R.G. Group and you've heard from Patrick Gross

19   here.    And that transaction took place between March 2011

20   and October 2011.      Rashti gets a request from the Araak

21   Petrochemical Company in Iran for numerous industrial

22   parts including hydraulic valves and connectors and Rashti

23   asked the defendant to get a quote for him.          The defendant

24   gets the quote and orders the parts and arranges for the

25   part to be shipped again to this Dubai Company or this




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 1   virtual company that Rashti has in the UAE.          The defendant

 2   then paid for all the shipments and got reimbursed by

 3   Rashti for the cost and Rashti arranged for delivery of

 4   the parts to Iran.

 5               During this transaction, recall that the

 6   defendant asked Patrick Gross to lie for him and provide a

 7   reference to another company.        And he asked Patrick Gross

 8   to indicate that some of those transactions we did were

 9   domestic, not all of them were international because in

10   this case in fact, every one of the transactions went to

11   Dubai.

12               Now, of course, neither Rashti nor the defendant

13   informed Patrick Gross or anyone else at R.G. Group that

14   any of these products were going to Iran.

15               And finally recall that there was a transaction

16   in May of 2011 or more of an attempted transaction in May

17   of 2011 in which Rashti's employees asked the defendant to

18   get price quotes for industrial components that were made

19   by the company with the acronym, AGC.         Now the defendant

20   submitted a request to Package Gas Systems or PGS.             If you

21   recall, you heard from Mr. Timiroas from that company.

22   And PGS asked the defendant to identify the end user and

23   he said it was for General DSAZ at the UAE.          Now PGS

24   subsequently informed the defendant, Mr. Timiroas informed

25   the defendant that there would be no quote because it was




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 1   already quoted by the manufacturer for a customer in Iran.

 2               Now the defendant's response, of course, is that

 3   he feigned surprise and emails Timiroas that, "huh, I got

 4   the order from a company in the UAE.         How can that be?"

 5   That's at Government Exhibit KL-8.        At the same time,

 6   Rashti's employee was advised by AGC that there will be no

 7   offer because the items were destined for Iran.           So

 8   independently, both Rashti and the defendant found out

 9   that these products weren't going to be shipped because

10   the company figured out they were going to Iran.

11               Recall this is the transaction -- and I ask to

12   put up on the screen the chat.        This is Government's

13   Exhibit KL-9.     This is the transaction where Rashti and

14   the defendant had a chat after they learned that they had

15   screwed up.     You might recall this chat.      This is the

16   Government's Exhibit KL-9 where Ali says "we screwed up."

17   Ali also says "when the guy saw this long list, he grew

18   suspicious" and Rashti proceeds to blame the customer.              As

19   we know, his customers are in Iran.         Rashti says "thank

20   God, it went through with no problem" and Ali says "it

21   remains to be seen."

22               They also discuss how Ali lied and gave the

23   company in the Emirates as the end user and then Rashti

24   tells the defendant to send emails saying that he did not

25   know what the deal was.       Rashti then offers a cover story




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 1   to say that if anyone asks them, they got the request from

 2   a client in Iraq and we did not know it was from Iran.

 3               Ladies and gentlemen, it all comes down to what

 4   you, as the finders of fact believe regarding the

 5   defendant's intent.      You can see the intent through his

 6   words and actions when he was carrying out these

 7   transactions.     And you can see the deceptive manner in

 8   which he carried them out.       And again keep in mind a very

 9   important point.     We don't have to prove knowledge of a

10   specific statute or regulation or reading a specific

11   provision on the OFAC website.

12               Now in this case, although we don't have to

13   prove that, the defendant actually did get notified of the

14   sanctions and had the ability to consult OFAC and figure

15   out whether his transactions were legal.         But he made a

16   conscious decision not to seek out any information on the

17   law.   Why did he do that?      Because he already knew that he

18   was breaking the law.

19               Recall in June of 2011, Zahra Abbassi sent

20   around an article warning friends about the sanctions that

21   apply to flying on Iran Air.       That article was dated

22   June 25, 2011.     It specifically mentions OFAC numerous

23   times in a very short, very simply worded article and it

24   provides a link to learn more about the sanctions and that

25   one page, very simple article also tells Iranian-Americans




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 1   to check with a lawyer or check with OFAC before

 2   conducting transactions with Iran.

 3               And again you heard testimony from two different

 4   Homeland Security agents that told you that the defendant

 5   was specifically told about OFAC and about the sanctions

 6   and that he should check with OFAC before engaging in any

 7   transactions with Iran.       Rather than actually reaching out

 8   to OFAC or trying to see what he could legitimately do

 9   with Iran if anything, the defendant continued to

10   consciously avoid learning the truth so that he could

11   continue to do business with his friends in Iran.

12               As you go back into the jury room, I ask you to

13   take with you three things.       What you saw, what you heard

14   and your common sense.      And when you use these three

15   things, you will see that the defendant's explanations

16   simply don't make sense.       The explanations here in court

17   don't align with what the defendant actually said and

18   actually did during all the transactions in the documents

19   that you saw.     They don't align with what the defendant

20   was saying in chats to the individuals in Iran when he was

21   arranging to indirectly ship multiple industrial parts to

22   Iran.    Remember that you get to be the judges of the

23   credibility of every witness who came into this courtroom

24   and that includes the defendant and that's the person who

25   probably has the most interest in the outcome of this




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 1   case.

 2                You heard repeated instances yesterday where the

 3   defendant lied to businesses in the U.S. about the end

 4   user of products and he lied to the shippers about the

 5   value of the products.       Now it's up to you to decide who

 6   is telling the truth and who is not.         And when you

 7   evaluate all the evidence and consider them in light of

 8   the instructions given by Judge Grimm, the evidence proves

 9   beyond a reasonable doubt that the defendant knowingly and

10   willfully violated the export laws of the United States

11   and we, therefore, ask you, ladies and gentlemen, to find

12   the defendant guilty on all counts with which he is

13   charged.     Thank you.

14                THE COURT:   Thank you.    Ms. Oyer, have you a

15   statement?

16                MS. OYER:    Yes, Your Honor.    I think I need just

17   one moment to get the microphone.

18                THE COURT:   Yes, ma'am.

19                MS. OYER:    May I proceed, Your Honor?

20                THE COURT:   You certainly may.

21                MS. OYER:    Ladies and gentlemen, this is the

22   first time I've had the opportunity to address you

23   directly and I want to begin by thanking you for your

24   attentiveness over the past two weeks.         It's been a long

25   time together and you've been looking at some dense




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 1   documents, dense subject matter and we're very grateful

 2   for your attentiveness.       Everybody in the courtroom is.

 3   But Mr. Saboonchi is especially because as you can

 4   imagine, this is a very important event for him in his

 5   life.

 6               We are grateful for the seriousness and the

 7   dedication that you have brought to the task so far and

 8   we're grateful for the hard work that you have lying ahead

 9   of you as you make your decision in this case.

10               Mr. Outlaw told you when he spoke to you on the

11   very first day of trial that there was not going to be a

12   lot that we disagree with the government about in this

13   case.    And there really isn't.      There's no dispute that

14   Mr. Saboonchi requested price quotes from various U.S.

15   companies on behalf of Mr. Rashti, on behalf of Mr.

16   Mohammadi and on behalf of Mr. Naghshineh.          There's no

17   dispute that he purchased products from U.S. companies for

18   those individuals.      There's no dispute that he shipped

19   products to the United Arab Emirates for Mr. Rashti.

20   There's no dispute that he shipped products to China for

21   Mr. Mohammadi and Mr. Naghshineh.        And there's no dispute

22   that Mr. Saboonchi knew that those products were going to

23   end up in Iran.     There's no dispute that he knew they were

24   going to be used in Iran.       And there's no dispute that he

25   did not have permission from OFAC to engage in these




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 1   transactions.

 2                So what is the dispute in this case?       The

 3   dispute is about Mr. Saboonchi's intent in taking these

 4   actions.     The dispute is about whether Mr. Saboonchi had

 5   the intent to break the law.       The fact that he violated

 6   the sanctions, the fact that he engaged in these

 7   transactions is something that we've never disputed and

 8   something that Mr. Saboonchi admitted here in court,

 9   something that he admitted 18 months ago when he was

10   interviewed by Special Agent Abagnale.

11                Now it's not enough for the government simply to

12   prove that Mr. Saboonchi violated the sanctions.

13   Violating the sanctions unintentionally is not a crime.

14   The instructions that the Court read to you state that

15   Mr. Saboonchi's conduct must be knowing and willful.             This

16   is all in the Instruction Number 35, some portions of

17   which Ms. O'Malley also highlighted to you.          I want to

18   highlight for you the definitions of knowingly and

19   willfully.

20                Knowingly means intentionally and voluntarily

21   and not because of ignorance, mistake, accident or

22   carelessness.     Willfully means with knowledge that the

23   defendant's conduct was unlawful and with the intent to do

24   something that the law forbids.        I urge you when you go

25   back to the jury room to review this instruction closely.




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 1   It's really the only one that's in dispute here.

 2               The government's burden is to prove that

 3   Mr. Saboonchi acted knowingly and willfully and to prove

 4   that beyond a reasonable doubt.        They have to convince you

 5   beyond a reasonable doubt that Mr. Saboonchi knew that

 6   what he was doing was unlawful.        If you're not convinced

 7   beyond a reasonable doubt that he knew that his conduct

 8   was unlawful, then you must acquit on all counts.

 9               Mr. Outlaw told you in opening that it's sort of

10   like building a bridge.       The government has to build a

11   bridge that you can walk across.        You have to be able to

12   walk all the way across from the presumption of innocence

13   side, which is where Mr. Saboonchi is sitting now, to the

14   guilty side with no holes and no gaps.         And there's a big

15   gap here and that gap is a showing that he knew that he

16   was violating the law when he took these actions.

17               Now, ladies and gentlemen, I think it was clear

18   from Ms. O'Malley's argument that the prosecution in this

19   case wants you to look at the evidence through two

20   particular lenses.      The first is what I'm going to call

21   the law enforcement lens and the second is what I'm going

22   to call the lens of the familiar.        And I'll tell you what

23   I mean by these two things.

24               The law enforcement lens, ladies and gentlemen.

25   You are being asked to decide whether at the time




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 1   Mr. Saboonchi engaged in these transactions he knew that

 2   they were illegal.      You are being asked to decide what was

 3   in his mind at the time that he engaged in these

 4   transactions.     What the prosecution has done here is

 5   they've searched through all of his emails over the period

 6   of four years.     They've searched through all of

 7   Mr. Rashti's emails for a period of four years.           They've

 8   pieced them together and they've organized them in the

 9   precise exact manner that they want you to read them.

10   You'll get four big binders of documents back in the jury

11   room with you.     They've got tabs.     They've got dividers.

12   They've got letters.      They have got numbers.      It's very

13   carefully organized.      And the government has done this

14   with the benefit of hindsight.        They have done it with the

15   benefit of more than two years of investigation.            They

16   have done it with the benefit of two lead case agents and

17   numerous others who have assisted.        They have done it with

18   countless search warrants and subpoenas.         With the

19   resources of the FBI, the Department of Homeland Security

20   and the U.S. Attorney's Office, the government believes

21   that they have captured all there is to know about

22   Mr. Saboonchi in four binders of documents.

23               And, ladies and gentlemen, really all that we've

24   heard Ms. O'Malley discuss in her argument was the emails

25   that Mr. Saboonchi wrote, not the testimony of witnesses.




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 1   Very little outside those emails.        And in fact I think she

 2   told you you only need to look at these documents, the

 3   emails to understand exactly what happened.

 4                Well, ladies and gentlemen, I simply don't agree

 5   with that.     The prosecution wants you to focus on

 6   particular words in the emails that may sound sensational

 7   in the context of a criminal prosecution.          When you take a

 8   email that uses the phrase I'm risking my life, when you

 9   take an email that uses the phrase smuggling, that uses

10   the phrase gimmick and you put it in the context of a

11   criminal prosecution, it is very easy to conclude that

12   that is evidence of guilt.       It's easy to assume the worst

13   about what those words mean when you look at them standing

14   alone.     But what we are asking you to do here is to look

15   at those words and try to interpret those words in the

16   context in which Mr. Saboonchi wrote them.          We're asking

17   you to consider what did he mean when he wrote them, what

18   was in his head, not just to imply the filter of law

19   enforcement, not just to apply this filter of hindsight.

20                It's not an easy task to get inside somebody's

21   head.    It is much easier to do what the government is

22   asking you to do and to assume that by the use of words

23   like risking my life, like smuggling, Mr. Saboonchi must

24   have been referring to violations of the Iran Trade

25   Embargo.     But, ladies and gentlemen, we are asking you to




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 1   work a little bit harder than that and we're asking you to

 2   dig a little bit deeper than that and we're asking you to

 3   try to understand what Mr. Saboonchi meant when he wrote

 4   those words.

 5               It's not an easy task, ladies and gentlemen, but

 6   it is a very important one.       It's important to

 7   Mr. Saboonchi and it's important to his family and it's

 8   important to everyone who cares about him.

 9               The second lens I told you about that the

10   government is asking you to look through is the lens of

11   what's familiar, of what's familiar to you and me.           Mr.

12   Outlaw in his opening asked you to do a couple of things.

13   And the first one was to keep an open mind.          He asked you

14   to set aside biases and prejudices.         And as jurors, you

15   took an oath to do that.       The Court's instructions remind

16   you of that oath.      The oath is especially important in a

17   case like this one, in a case that involves Iran, a

18   country that the United States considers to be an enemy,

19   in a case that involves a defendant who is

20   Iranian-American.

21               The government is asking you to filter all of

22   the evidence through the lens of American customs, of

23   American practices and of American traditions.          They're

24   asking you to look at the evidence through the lens of

25   what is familiar to those of us who were born and raised




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 1   in the United States.

 2                Mr. Saboonchi is an American citizen.          He told

 3   you he loves this country.       He chose to raise his own

 4   family here and he plans to stay here.            But he was not

 5   born here.     He did not grow up here.      His family is

 6   Iranian and his frame of reference is Iran.            Even here in

 7   Maryland, he is deeply connected to a community of

 8   Iranian-Americans.      The task of getting inside Mr.

 9   Saboonchi's mind is doubly hard for this reason.

10                The government is counting on you to make

11   assumptions about what Mr. Saboonchi must have known or

12   what he should have known as a person of Iranian descent.

13   They've demonstrated that in court here.            How?   Well, I

14   can think of several examples.        On the first day of trial,

15   Special Agent Baird highlighted Mr. Saboonchi's travel to

16   Iran.    She prepared a chart that will be included in the

17   book of exhibits that you'll get in the jury room.

18                In Ms. Manuelian's examination of Special Agent

19   Abagnale, he pointed out, he highlighted in his testimony

20   the fact that Mr. Saboonchi referred in an interview to

21   Iran as home.     Well, is something wrong with referring to

22   the place that you grew up as home?         No.     Is something

23   wrong with traveling to Iran?        No.

24                John Hinton, the OFAC person who testified here,

25   told us that travel is specifically exempted from the




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 1   sanctions.     Special Agent Baird didn't know that.        But he

 2   told us that travel is okay.

 3                Iran is where Ali Saboonchi spent his formative

 4   years.    It's where his parents still live.        It's where two

 5   of his siblings live.      This is just a fact and a reality

 6   of his life.     And that is the filter through which he

 7   views the world and I am asking you, ladies and gentlemen,

 8   to do your best to see his writing through the same filter

 9   that he saw it when he wrote it.

10                Now many things are different in Iran than they

11   are here.     Mr. Saboonchi told you about a number of these

12   things.     He spoke yesterday about the corruption and the

13   customs system in Iran.       He told you about the difficulty

14   of simply cashing a check at a bank.         He told you that it

15   can take half a day and you might not even get the check

16   cashed.     These things may seem unfamiliar to us as

17   Americans, but those are the realities of his experience.

18                The government did not dispute that these are

19   realities in Iran.      The government did not dispute the

20   corruption and the bureaucracy that Mr. Saboonchi spoke

21   about when he testified.       They just want you to ignore

22   those realities.     They want you to filter all of the

23   evidence through your own experience as an American.

24   Well, some of the assumptions that we might make based on

25   our own experience living in the United States, they just




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 1   don't apply here.

 2               Ladies and gentlemen, I'm asking you to take on

 3   a very heavy burden of trying to understand where

 4   Mr. Saboonchi was coming from and trying to view his

 5   writing from his own perspective.        But I'm asking you,

 6   please, not to assume that because something is

 7   unfamiliar, it's something sinister or something illegal.

 8   Please view the evidence with an open mind.

 9               Now I want to turn to what the law is that

10   Mr. Saboonchi is charged with violating.         There are eight

11   different counts in the indictment, but they all relate to

12   the U.S. sanctions on Iran, the sanctions enacted and

13   administered by OFAC.

14               Now what do we know about the sanctions based on

15   two weeks of evidence?      Well, there are two things that

16   are important that I want to highlight.         One, is that the

17   sanctions are really complicated.        And two is that there

18   are a lot of people who don't understand them.

19               We heard the first point that the sanctions are

20   complicated from an expert.       We heard from John Hinton who

21   works in the enforcement division of OFAC.          He told us

22   that the sanctions are not just one single law.           They're

23   not just that little bulletin that Agent Baird told you

24   she read.    They include statutes such as the IEEPA.         They

25   include executive orders, many different ones issued by




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 1    many different presidents.       They include a whole series of

 2    regulations that cover a wide variety of conduct.          Not

 3    just imports and exports, but many things.         Then there are

 4    general licenses and there are exceptions and different

 5    provisions that carve out conduct that's allowed under the

 6    sanctions.     Mr. Hinton told us that not all transactions

 7    with Iran are prohibited.      He told us that travel, mail,

 8    email, Internet chats, certain gifts, transactions

 9    conducted pursuant to a license, all of those things are

10    allowed under the sanctions and it's not so simple to

11    figure out what is permitted and what's not.

12                 Mr. Hinton told us that OFAC receives many, many

13    requests for guidance every year from companies, from

14    individuals, from lawyers representing people who don't

15    understand the law.     Mr. Hinton told us that there are 396

16    frequently asked questions on OFAC's website.          Those are

17    just the frequent ones.

18                 He told us that none of the information about

19    the sanctions is available in Farsi.        The regulations

20    themselves aren't translated.       None of the guidance

21    materials on OFAC's website are translated into Farsi.

22    They're available on certain other languages, but not in

23    Farsi, which is the language predominantly spoken in Iran

24    and the native language of Mr. Saboonchi.

25                 Mr. Hinton also told us that OFAC has the




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 1    authority to bring enforcement actions, but they did not

 2    bring sufficient action against Mr. Saboonchi.

 3                 Now the second thing I want to highlight about

 4    the sanctions that we've learned here is that there are a

 5    lot of people who don't understand them.         I want to start

 6    first by asking you to think about who we heard from who

 7    does understand the sanctions.       There are several people

 8    and there are people who enforce the sanctions for a

 9    living, people who are paid to understand and enforce the

10    sanctions.     Those people include Mr. Hinton, who works for

11    OFAC, and they include Special Agent Abagnale, who does

12    this type of cases as a regular part of his career.           Both

13    Agent Abagnale and Mr. Hinton studied law.         They are

14    attorneys by training.      And both of them have had

15    extensive training in the sanctions.

16                 Special Agent Abagnale told you that before he

17    started at the FBI, he was not familiar with the

18    sanctions.     But then he was trained by the FBI and he was

19    trained by the U.S. Attorney's Office, the same office

20    that's prosecuting Mr. Saboonchi here.         And through his

21    experience and training, he now understands them.          Well

22    ladies and gentlemen, I can assure you that if

23    Mr. Saboonchi had received that same training, he wouldn't

24    be sitting here today.

25                 Let me ask you a second question which is to




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 1    recall who we've heard from who does not understand the

 2    sanctions.     It's a lot of people.     It's a long list.      The

 3    first person is Special Agent Kelly Baird.         She is one of

 4    two lead case agents in this investigation.         She's worked

 5    for the Department of Homeland Security for more than

 6    eight years.     She has spent at least two years

 7    investigating Mr. Saboonchi for violations of the

 8    sanctions.     And when she testified on the first day of

 9    trial, Special Agent Baird told you that she hasn't even

10    read the sanctions herself.       She told you that there are

11    really long set of materials, that they cover a lot of

12    different subjects and she's just read a bulletin from

13    OFAC that summarizes the sanctions.

14                 Agent Baird testified that she talked to

15    Mr. Saboonchi about the sanctions and her goal was to try

16    to find out what he understood about the sanctions.            But

17    then she told you that she didn't even know whether his

18    understanding was correct.       She could not tell you sitting

19    on the witness stand whether what Mr. Saboonchi told her

20    about the sanctions was correct.        He told her he believed

21    that it was not permissible to fly on Iran Air and she

22    told you she didn't know whether that was true.            And John

23    Hinton told us that's in fact not true.         That's a

24    misunderstanding.     But Special Agent Baird didn't know

25    that.




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 1                The fact that the government's own case agent

 2    does not understand the law that applies in this case

 3    should be a big red flag for you.        That should certainly

 4    give you pause as you conduct your deliberations.

 5                After she testified here in court, Special Agent

 6    Baird confided in her friend, Special Agent Tonya Matney,

 7    who also works for the Department of Homeland Security.

 8    And she told Agent Matney that she wished she understood

 9    the sanctions better.      Those were her words.      That's what

10    Agent Matney told us yesterday.       This is the same person

11    who was investigating Mr. Saboonchi for two years for

12    violating the sanctions.      This is a person that the

13    government has entrusted as one of their lead case agents

14    on this investigation and she told you she wished she --

15    well, she told Agent Matney she wished she understood the

16    sanctions better.

17                Ladies and gentlemen, I can assure you that

18    Mr. Saboonchi also wishes he understood the sanctions

19    better.   If he had understood the sanctions better, he

20    would not be sitting here today.

21                The second person that you heard from who

22    doesn't understand the sanctions is Yousef Nejati, the

23    government's own witness.      Ms. O'Malley didn't make

24    mention of him in her presentation.        But Mr. Nejati told

25    you that he really doesn't know much at all about the




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 1    sanctions.     The government wants you to assume that as an

 2    Iranian-American, Mr. Saboonchi must understand the

 3    sanctions.     But Mr. Nejati is also Iranian-American.          And

 4    he told you that he just wasn't aware of the sanctions.

 5    Like Mr. Saboonchi, Mr. Nejati's family is from Iran.

 6    Like Mr. Saboonchi, Mr. Nejati has traveled to Iran.             Like

 7    Mr. Saboonchi, Mr. Nejati is highly educated.          He is a

 8    graduate of the University of Maryland.

 9                 Well, what did he tell you was his understanding

10    of the restrictions on sending things to Iran?          He told

11    you that his understanding was that you couldn't send

12    alcohol because it was religiously prohibited in his

13    words.     He said his understanding was that the only items

14    you couldn't send to Iran were items that were religiously

15    prohibited and that was it.       He wasn't aware of any

16    further restrictions.      He talked about a time when his

17    father traveled to Iran with a laptop in his suitcase to

18    give to someone there.      He wasn't aware of the sanctions.

19                 You heard from another Iranian-American, Zahra

20    Abbassi.     She testified that she sent an email about the

21    Iran Air sanctions or the potential sanctions which we

22    learned from Mr. Hinton was a misunderstanding to her

23    entire book, her address book of Iranian-American friends

24    and acquaintances including Mr. Saboonchi.         Why did she do

25    this?    Because she was worried that her friends might not




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 1    know about the sanctions.      Ms. Abbassi told you that she

 2    is an Islamic studies major concentrating on Iran.           She

 3    knows about the sanctions because of her studies and she

 4    knows that other Iranian-Americans are not as well

 5    informed as she is.

 6                You also heard about a lot of U.S. companies

 7    that don't understand the sanctions.        These are companies

 8    that Mr. Saboonchi dealt with.       These are companies that

 9    are engaged in the business of exporting goods overseas.

10                You heard from Patrick Gross of R.G. Group.            He

11    said he didn't think it was his job to know about export

12    restrictions.    He said that he assumed that if a product

13    wasn't allowed to be exported, the order wouldn't be

14    filled.

15                Lisa Harvey of Collins Products, she does all of

16    the shipping for Collins herself.        She said that about 40%

17    of Collins' products are exported.        And Lisa Harvey relies

18    on U.P.S. to tell her if there's an export restriction.

19    Lisa Harvey told you an anecdote about when she tried to

20    ship a package to North Korea.       You've probably figured

21    out by now through the course of this case that there are

22    also sanctions on North Korea.       She had no idea.     And when

23    she went to U.P.S. and tried to ship the package, they

24    told her that she couldn't.       She also told you that until

25    the FBI came knocking on her door in connection with this




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 1    case, she had no idea that you couldn't ship things to

 2    Iran and she shipped stuff as a routine part of her

 3    business.

 4                These are people who regularly export products

 5    outside of the United States and they are also people

 6    whose products are frequently re-sold outside of the

 7    United States.     These people just rely on commercial

 8    shipping companies to give them advice about what the

 9    restrictions are.

10                This really isn't much different, ladies and

11    gentlemen, than what Mr. Saboonchi did here.          He told you

12    about going to the U.S. Post Office to mail a package to

13    Iran.   They let him do it.      So he thought it was okay.         He

14    told you that he saw a sign in a post office that had a

15    symbol for a gun with a slash through it and a symbol for

16    liquids with a slash through it and he understood that to

17    mean that he couldn't put a gun in his package and he

18    couldn't put liquid in his package and he didn't put

19    either of those things in it and they took the package and

20    they sent it and so he thought it was okay.

21                Was it foolish for Mr. Saboonchi to rely on the

22    post office?     Maybe.   But the Court's instructions will

23    tell you this.     They say guilty knowledge may not be

24    established by demonstrating that the defendant was merely

25    negligent, foolish or mistaken.       That's in that important




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 1    instruction, Number 35.      Mr. Saboonchi must have actually

 2    known that his conduct was unlawful and he must have

 3    actually intended to break the law.

 4                 So what the is the evidence of Mr. Saboonchi's

 5    knowledge?     Well, remember that it's the government's

 6    burden to prove that he acted knowingly and willfully to

 7    violate the sanctions.      And I want to talk about what the

 8    government has and has not shown you along those lines.

 9                 It's pretty clear that the government hasn't

10    produced any evidence that he actually read the sanctions.

11    And there's no evidence that he did any research on the

12    sanctions and there's no evidence that he ever actually

13    looked at this OFAC web page, which there's been a lot of

14    discussion about.

15                 Now remember, ladies and gentlemen, one thing

16    that Ms. O'Malley did not mention, one thing that Agent

17    Abagnale didn't mention until we asked him about it on

18    cross-examination was the forensic searches of computers

19    that happened in this case.       There were four computers

20    seized from Mr. Saboonchi's residence.         Special Agent

21    Abagnale personally requested forensic searches of these

22    computers.     Forensic searches are searches that allow you

23    to capture essentially the entire contents of the

24    computer, including the Internet browsing history.

25    Special Agent Abagnale told you why he asked for this.              He




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 1    said it was because normally evidence of criminal activity

 2    is found on the computer.

 3                Now in this case, they also did a forensic

 4    search of Mr. Saboonchi's IPhone and among all these

 5    searches, they located hundreds of thousands of URL's.

 6    That's what Special Agent Abagnale told you.          URL's are

 7    essentially information about web pages that have been

 8    viewed.   They applied a long list of search terms to all

 9    these URL's.    They were looking for anything that had to

10    do with the sanctions or OFAC or Iran.         Not one single URL

11    came back to a site referencing the sanctions or OFAC.

12    Not one out of those hundreds of thousands.         So yes,

13    Mr. Saboonchi knew how to use the computer.         That's a

14    point the government is trying to make.         He knew how to

15    research on the Internet, but clearly he was not

16    researching the sanctions.

17                The government also searched all of the

18    documents saved on his computer.        They searched multiple

19    thumb drives that were saved for him.        They looked

20    specifically for references to sanctions in these

21    materials and they didn't find anything.         Special Agent

22    Abagnale said that the only evidence they found on his

23    computer were the emails, the same ones that they found by

24    searching his email account and maybe some of the invoices

25    that were attached to those, but nothing else.




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 1                Well, why didn't Special Agent Abagnale mention

 2    in his direct examination when Ms. Manuelian was asking

 3    him questions the fact that they had done all these

 4    computer searches?     Because it's not consistent with the

 5    government's theory of guilt in this case.         They want you

 6    to look at it through the law enforcement lens.          And if

 7    you look at the computer searches, it just doesn't fit

 8    with their theory.     And so they didn't tell you about

 9    those.

10                The other remarkable thing is that the

11    government searched all of Mr. Saboonchi's emails dating

12    back to 2009.     They searched four years worth of his

13    emails and they have shown you hundreds of those emails

14    that they think are pertinent here.        But remarkably not

15    one of those emails discusses the sanctions or discusses

16    OFAC.    Mr. Saboonchi not once makes even a passing

17    reference to sanctions or OFAC in any email that he wrote.

18                Ask yourself, ladies and gentlemen, is it

19    possible that Mr. Saboonchi could have known about and

20    understood the requirements of the sanctions without

21    leaving a single trace of evidence on his computer.           It

22    seems unlikely.

23                The other conspicuously missing thing from the

24    government's case is witnesses.       Special Agent Abagnale

25    told you that he talked to dozens of people in the course




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 1    of this investigation and that other law enforcement

 2    agents were also interviewing people.        They spoke to

 3    friends of Mr. Saboonchi's like Ms. Abbassi.          They spoke

 4    to people who received mail for him.        They spoke to his

 5    professors.     Agent Abagnale told you that he personally

 6    spoke to dozens of people.       Well, after all of these

 7    interviews and we have not heard from one single person

 8    whoever had a discussion with Mr. Saboonchi about the

 9    sanctions.     Not one.   Is it really possible that Mr.

10    Saboonchi understood the sanctions, but never discussed

11    them with anybody that the FBI interviewed?         That seems

12    unlikely.

13                 The only person who claims to have had a

14    discussion with Mr. Saboonchi about the sanctions is

15    Special Agent Baird and let's talk about her.          What

16    exactly did she tell him about the sanctions?          She told

17    him that an internship that he had held in Iran five years

18    earlier might have been illegal.        She wasn't sure if it

19    was illegal, but she thought it might have been and that's

20    what she told him.

21                 What didn't she tell him?     She did not tell him

22    that it was illegal to export goods to Iran and she did

23    not tell him that it was illegal to export goods to third

24    countries like UAE or China if they were destined for

25    Iran.   She never told him that.      She did not tell him that




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 1    his transactions with Mr. Rashti and others were

 2    prohibited by the sanctions.       And she did not tell him

 3    that she believed he was breaking the law.

 4                 What was the purpose of that whole exchange?

 5    Agent Baird told you that the purpose was for her to

 6    gather information about Mr. Saboonchi's understanding of

 7    the sanctions.     Agent Baird was already investigating

 8    Mr. Saboonchi at that point secretly and she was trying to

 9    get him to make an admission that she could use against

10    him later.     The purpose was not to educate Mr. Saboonchi

11    about the sanctions.      It was not to warn him that he might

12    be violating the law.      It was to see if he would say

13    something incriminating.

14                 Now Agent Baird supposedly wrote down OFAC on a

15    piece of paper on a property receipt for Mr. Saboonchi.

16    She said she kept a copy of that piece of paper, but we

17    didn't see that paper in court.

18                 She also said that she previously testified

19    under oath in this courtroom that she wrote down the

20    address of the OFAC website for Mr. Saboonchi so that he

21    could go look it up.      Well, she admitted in her testimony

22    on the first day of trial that that prior testimony was

23    false.   That she never wrote down the OFAC website for

24    Mr. Saboonchi so that he could go look it up.

25                 Special Agent Baird could have given him that




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 1    bulletin from OFAC that she read to try to understand the

 2    sanctions.     She could have told him that she thought he

 3    was breaking the law.      He would have stopped if she told

 4    him that.     He told you that he would have.      Of course, he

 5    would have.     But that wasn't what Agent Baird wanted.        She

 6    wanted him to keep doing it so she could catch him in the

 7    act.

 8                 The government has pointed out in their closing

 9    argument that Mr. Saboonchi started talking about risks

10    they say in 2012 and that this must have been a result of

11    his encounter with Special Agent Baird.         Well, I don't

12    quite follow the logic of that argument because if that's

13    the case, the implication would be that everything that

14    Mr. Saboonchi did before that interaction with Special

15    Agent Baird in 2012 was okay, it was innocent, because he

16    didn't have the knowledge before then.         The knowledge came

17    only suddenly after he had this conversation with Special

18    Agent Baird.

19                 Well, that just doesn't add up, ladies and

20    gentlemen.     I don't think that you can interpret the

21    interaction with Agent Baird the way that the government

22    wants you to.     They want you to see it through this law

23    enforcement lens of hindsight.       They want you to see the

24    fact that she may have used certain key words like OFAC

25    with him and assume that that meant he knew that what it




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 1    was doing was illegal from that point after.          That's just

 2    not the reality of it.

 3                Now yesterday, at the very end of its case, the

 4    government brought in Special Agent Tonya Matney to try to

 5    sure up Agent Baird's testimony about her interaction with

 6    Mr. Saboonchi.     Agent Matney was with Agent Baird when she

 7    spoke to Ali.    Agent Matney is also a friend of Agent

 8    Baird's and Agent Matney told you that she has spoken to

 9    Agent Baird four times or more since Agent Baird testified

10    in this trial.     She spoke to her about her testimony in

11    court.

12                Agent Matney didn't write a report about this

13    interaction with Mr. Saboonchi.       Why?   Because it lasted

14    for ten minutes and because she wasn't really working on

15    the case.    But she suddenly remembered after reviewing

16    Agent Baird's report a bunch of things that she had told

17    Mr. Saboonchi about the sanctions.        She remembered things

18    that weren't even in Agent Baird's report.         She remembered

19    things that were not included in Agent Baird's testimony.

20                Agent Matney says that she told Mr. Saboonchi

21    that most transactions with Iran are illegal and that he

22    should check the OFAC website to avoid getting in trouble.

23    Why did we hear this for the first time in the

24    government's rebuttal case?       Why did we hear this for the

25    first time after two weeks of testimony?         That should be a




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 1    red flag.     That should give you pause.      Something doesn't

 2    add up about that whole interaction with Mr. Saboonchi in

 3    2012.

 4                The one thing that's clear about that

 5    interaction is that nobody says they told Mr. Saboonchi

 6    that exporting products to Iran was illegal and nobody

 7    told him that his transactions with Mr. Rashti were

 8    illegal and nobody told him that they thought he was

 9    breaking the law.

10                What other evidence does the government have

11    that Mr. Saboonchi understood that what he was doing was

12    wrong?     Well, they showed you during the course of trial

13    document after document after document that were terms and

14    conditions of different companies with tiny, tiny prints

15    and lots and lots of words on the same page.          They didn't

16    mention those in closing I'm assuming because they

17    realized that nobody reads those types of documents.

18                Darin Kellogg, the compliance manager from

19    Edwards Vacuum, told you that even though he's the

20    compliance manager, he hadn't read Edwards' terms and

21    conditions in full.     He also told you that their customers

22    can accept the terms and conditions without even looking

23    at them.

24                John Elgert from Geiger Pump, he told us

25    basically the same thing.      He said the purpose of those




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 1    documents is so that companies can cover themselves

 2    against liability.     So if something like this happens,

 3    they can say if the FBI comes knocking, look, we gave this

 4    guy this document.     Any argument that put Ali on notice

 5    about the sanctions, that's just not reality.

 6                 Now the government is trying to argue that

 7    Mr. Saboonchi should have known about the sanctions, that

 8    he had resources available to him to learn about the

 9    sanctions.     He did know a few things about the sanctions

10    and he told Agent Baird that and he told Agent Abagnale

11    that.   We also know that much of what he understood about

12    the sanctions was incorrect.       But he did not know about

13    the export restrictions on Iran and there's no evidence

14    that he did.

15                 The government wants you to believe that he

16    deliberately avoided learning the truth about those

17    restrictions.     Well, you heard that the sanctions are very

18    complicated.     You heard that they're not widely

19    understood.     You've also heard that reading is not Mr.

20    Saboonchi's strong suit, especially in English.           He

21    doesn't read long articles.       He doesn't read complicated

22    materials unless he absolutely has to.         It's not

23    surprising that he wouldn't have read the sanctions

24    regulations even if he came across them.         Should he have

25    done more independent research?       Maybe he should have.




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 1    But remember the Court has instructed you that negligence

 2    or foolishness or carelessness is not enough to amount to

 3    a willful violation of the sanctions.

 4                 One thing that we know about Mr. Saboonchi is

 5    that he relies on help from others.        How do we know that?

 6    Well, we heard that from Dr. Arman Rahmim, who testified

 7    that he helped Mr. Saboonchi with his Master's thesis.              We

 8    heard that from Dr. Chen, his academic adviser.          We've

 9    heard that from Dr. Salimian, Mr. Saboonchi's mentor and

10    professor.     We heard that from Angela Jean-Louis, who

11    worked on his NASA project with Mr. Saboonchi who said he

12    really wasn't up to the task, that he didn't have much of

13    a backbone.     He was sort of a pushover.      The message of

14    all of those people was consistent.        Mr. Saboonchi is

15    spectacularly committed and hardworking.         He pours his

16    heart and soul into his work, but he just doesn't quite

17    get it.   He struggles.     These are people who said that it

18    pains them to say anything critical about Mr. Saboonchi.

19    That this was their honest assessment of his abilities and

20    of how he functions.

21                 Mr. Saboonchi told you himself that he relies on

22    help from his classmates to get through school.          He relied

23    on what he was told at the post office in shipping a

24    package to Iran.     Mr. Saboonchi has a different kind of

25    personality.     He is a different kind of person than




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 1    perhaps many of us.     He has different life experiences.

 2    He has different struggles.       And that's why it's so

 3    important for you to try to view the world the way that he

 4    saw it, not to view it through the lens of what's familiar

 5    to you, but to try to view it the way that he sees it.

 6                Now the main piece of evidence that the

 7    government relies on is Mr. Saboonchi's emails and chats.

 8    They told you look no further, the whole story is in

 9    there.   Well, it's not.     I'm not going to go through all

10    of the emails and chats individually that the government

11    has spoken about.     Mr. Saboonchi tried to explain some of

12    the same ones that they pointed out to you when he

13    testified yesterday.      And you all listened very

14    attentively and I'm not going to repeat all of his

15    explanations here.     But what I do want to ask you is to

16    follow some general principles in evaluating those emails

17    as you read them and they are the same ones that we've

18    already talked about.

19                The first is that I want to ask you please don't

20    view those emails and documents through the law

21    enforcement lens.     What do I mean by that?      Well, don't

22    assume that phrases like risk my life, that phrases like

23    we screwed up are automatically associated with

24    illegality.    That's a red herring.      Ask yourself is there

25    an actual connection to the Iran sanctions.         What do those




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 1    references have to do with violating the Iran sanctions,

 2    with knowledge that he was violating the Iran sanctions?

 3                If someone comes into the picture and reviews

 4    Mr. Saboonchi's emails four years later, it's not shocking

 5    that they can find ones that use words that are

 6    sensational, that use the kind of buzz words that we might

 7    look for in a criminal trial like a risk, like gimmicks.

 8    But the fact that those words are there does not mean that

 9    he understood himself to be violating the sanctions on

10    Iran.

11                And don't, ladies and gentlemen, give the

12    documents more significance than they had at the time they

13    were written.    An Internet chat is just a chat.        It's not

14    Shakespeare, not every single word is carefully chosen.

15    If you don't understand every single line, well, don't

16    assume what it means.      Don't make assumptions.      If you

17    can't understand everything that Mr. Saboonchi wrote in

18    every email, if you can't understand what the innocent

19    explanation is for it, does that mean that he's guilty?

20    No.

21                The second thing I'm going to ask you to do in

22    reading all of these emails and considering all these

23    emails is to avoid the lens of the familiar, to avoid

24    filtering all of the emails through American customs,

25    American practices, American traditions.




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 1                Mr. Saboonchi tried to explain yesterday some of

 2    the concepts that are referenced in these emails like

 3    smuggling products through customs, which happens because

 4    of the corruption that we discussed in Iranian customs.

 5    It may sound foreign.      It's not something that's common

 6    here.   But don't make the leap from concluding that

 7    because he was trying to circumvent Iranian customs, that

 8    he intended to violate the U.S. sanctions on Iran.

 9    There's just no logical connection there.

10                Similarly, you've heard about money exchangers

11    as Agent Abagnale referred to them or he referred to them

12    I think as hawalas.     Arman Rahmim also was familiar with

13    this concept.    Both of them told you that that is a very

14    common way for Americans -- Iranian-Americans to transfer

15    money between Iran and the United States.         It's a common

16    practice.    Mr. Rahmim says everybody he knows does it.

17    Mr. Saboonchi says it's the only way that he's ever known

18    to transfer money back to Iran.       Don't assume that using

19    money exchangers meant that Mr. Saboonchi knew that he was

20    violating the sanctions.      There's just not a logical

21    relationship there.

22                Please try to view the emails to the best of

23    your abilities through Mr. Saboonchi's lens and not

24    through whatever your lens may be based on your own

25    experiences.




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 1                 Some of the emails that the government pointed

 2    out really just are red herrings.        For example, they talk

 3    about their Exhibit Number 23, which is this email related

 4    to G.E. in the Netherlands.       Someone at G.E. in the

 5    Netherlands said we don't ship products to Iran, it's our

 6    company policy.     Well, that simply does not have anything

 7    to do with the U.S. sanctions on Iran.         The fact that a

 8    G.E. branch in the Netherlands has a company policy

 9    against doing that, that has nothing to do with what Mr.

10    Saboonchi is charged with here.

11                 Now ladies and gentlemen, I have one more thing

12    to ask you to do that's difficult and maybe the most

13    difficult thing I'm going to ask you to do.         And that is

14    please don't assume that because Mr. Saboonchi lied about

15    some things, that he knew that he was violating the

16    sanctions.     Mr. Saboonchi told some lies in connection

17    with this case.     That's for sure.     There's no denying

18    that.   And he tried to explain himself to the best of his

19    abilities to you yesterday why he told those lies.           He

20    told you that he would tell companies that the end user

21    was domestic instead of foreign because he thought it

22    would make the transaction easier.        He thought they

23    wouldn't ask as many questions, they wouldn't require him

24    to fill out as much paperwork.       He was cutting corners to

25    be sure and that's conduct that we can frown upon for




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 1    sure, but that's not illegal.       Cutting corners is not

 2    illegal.

 3                Mr. Saboonchi told you that he's not good at

 4    reading and completing paperwork.        It's very hard for him.

 5    That's consistent with what his professors told us.           He

 6    gets help with homework and projects, reading and writing

 7    in particular, especially in English are his big

 8    weaknesses.    He has trouble working independently.         So

 9    it's not surprising that he cut some corners.          It doesn't

10    mean that he broke the law.

11                Now the government pointed out in their

12    cross-examination of Mr. Saboonchi that he did fill out

13    one form, even though he said he couldn't fill out the

14    commerce department form.      It was too complicated.       The

15    form he filled out asked him for his name and his address.

16    I think that was Government's Exhibit M-18.         The form that

17    he didn't fill out, the commerce department form, the one

18    he said he didn't even read, Exhibit 56, that was full of

19    technical legal E's type language that was very dense,

20    very complicated.     It's not the same as being able to fill

21    out a form with your name and your address and your credit

22    card number.

23                Try, ladies and gentlemen, to view Mr.

24    Saboonchi's actions through the lens of his own background

25    and experiences and not through the lens of what's




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 1    familiar to you.

 2                Now did Mr. Saboonchi think he was breaking the

 3    law when he provided this false information about end

 4    users?   No.    And one of the reasons is that many of the

 5    suppliers he dealt with didn't ask him to provide end user

 6    information.    These, of course, are mostly suppliers that

 7    the government did not bring into court.         They want to

 8    highlight only the facts that are consistent with their

 9    theory of guilt.     That's this law enforcement lens that we

10    talked about.

11                But you heard from Lisa Harvey in our case.         She

12    told you that her company, Collins Products, they never

13    ask for end users.     Even though 40% of their purchases are

14    sent overseas, even though their products are routinely

15    re-sold overseas including in the Middle East, they don't

16    ask where they are going.

17                Agent Abagnale admitted on cross-examination

18    that he learned from Flowtech that they don't ask for end

19    user information either.      He admitted that he learned from

20    Airline Hydraulics, the company that sold the Haskel Pump

21    that they don't ask for end user information either.

22                And of course, there's Patrick Gross from the

23    R.G. Group, who we heard from in the government's case.

24    Mr. Gross was the witness who saw Mr. Saboonchi as a

25    business development opportunity as a way to put more




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 1    money in his pocket.      Patrick Gross knew exactly what

 2    Mr. Saboonchi was doing.      He testified that he knew that

 3    Mr. Saboonchi was buying products and sending them to the

 4    United Arab Emirates to be re-sold in the Middle East.

 5    Patrick Gross knew exactly what Mr. Saboonchi was doing

 6    and he never asked where the orders were going after the

 7    United Arab Emirates.      He told you he believed it wasn't

 8    his responsibility to know.

 9                Now Mr. Saboonchi relies on other people.

10    Nearly everybody who knows him has told you that that's

11    how he functions in the world and the fact that many

12    companies didn't ask about end users was a real basis for

13    his belief that this was a matter of company policy

14    whether they asked for it or not, not a matter of law.

15                Ladies and gentlemen, there are a couple of big

16    unanswered questions in the government's case that should

17    prevent you from finding beyond a reasonable doubt that

18    Mr. Saboonchi's conduct was unlawful.        These are just

19    common sense questions that I want to ask you to consider

20    as you evaluate whether Mr. Saboonchi was breaking the

21    law, whether you evaluate whether the government has

22    proven beyond a reasonable doubt that he knew that his

23    conduct was unlawful.

24                And the first big question is why would

25    Mr. Saboonchi take all of this risk if he knew that his




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 1    conduct was illegal, if he knew what the consequences

 2    potentially were.     He wasn't making any money.       Agent

 3    Abagnale told you that he and his whole team could not

 4    prove that Mr. Saboonchi made a penny on these

 5    transactions.     In fact Mr. Saboonchi lost money on the

 6    transaction with Mr. Rashti.

 7                 And money wasn't his motive.      Mr. Saboonchi was

 8    not living a lavish lifestyle.       You saw pictures of his

 9    house.   You heard that he drives a 1999 Plymouth van.          You

10    heard that there was nothing expensive or fancy seized in

11    his house.     He's a simple guy.

12                 You also heard that what he was doing was very

13    time consuming.     He was on the Internet bidding on Ebay

14    auctions for his friend, Mr. Naghshineh.         It was time

15    consuming.     You also heard that it was causing big

16    headaches at home.     You heard that he was racking up

17    credit card debt.     You heard that his wife was very upset

18    with him.     They were fighting because of all the credit

19    card expenses.     Mr. Saboonchi told you that he tries to

20    help people when he can.      And Mr. Rahmim told you the same

21    thing about Ali.     But no rational person would take all of

22    this risk with no financial reward if they knew their

23    conduct was illegal.

24                 Mr. Saboonchi would not have knowingly put

25    himself and his family in that situation if he knew what




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 1    the potential consequences are.       Ask yourselves, ladies

 2    and gentlemen, why would he have been doing this if he

 3    knew that it was illegal.      What did he get out of it?

 4    Nothing that the government has shown.

 5                 The second question, ladies and gentlemen, is

 6    why did Mr. Saboonchi keep doing this after he was

 7    searched at the border.      You heard that he was coming back

 8    with his wife from a trip to the Canadian side of the

 9    Niagara Falls and he was detained at the border.          His

10    electronic devices, his phone were seized, taken away from

11    him for two weeks, forensically imaged and searched by the

12    Department of Homeland Security before they were returned

13    to him.   Now that's no small thing.       Don't you think that

14    if Mr. Saboonchi believed he was doing something illegal,

15    that would have been a sign to him to say wait, stop?

16                 And the third question I want you to ask

17    yourselves, ladies and gentlemen, is if Mr. Saboonchi knew

18    what he was doing was wrong, why did he talk to Agent

19    Abagnale in so much detail after he was arrested.

20    Mr. Saboonchi spoke to Agent Abagnale voluntarily, he

21    spoke to Agent Abagnale without an attorney present and he

22    spoke to Agent Abagnale without even having seen the

23    charging document, without even knowing what the charges

24    were against him.     He answered all of Agent Abagnale's

25    questions.




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 1                Agent Abagnale wanted to quibble about whether

 2    he refused to answer a question about what somebody else

 3    wrote the punctuation used in an email.         Well, setting

 4    that aside, he answered all of Agent Abagnale's questions.

 5    He answered questions for two hours.        He didn't refuse to

 6    answer any questions about the business transactions he

 7    was involved in.     He didn't refuse to answer any questions

 8    about his emails with Mr. Rashti and others.          He admitted

 9    doing business with Mr. Mohammadi, Mr. Naghshineh and Mr.

10    Rashti.    He admitted knowing that the products were going

11    to Iran.    He admitted all of the transactions that the

12    government asked him about.

13                And not only that, he admitted things that the

14    government didn't even ask him about.        He admitted that he

15    had sent -- he volunteered that he had recently sent a

16    modem to a friend, which Agent Abagnale told you he wasn't

17    even aware of at the time of the interview.         He told Agent

18    Abagnale about this transaction with Frham for the Radeico

19    cartridges, that big sleeve of cartridges that you saw.

20    Agent Abagnale didn't even know about that when he

21    interviewed Mr. Saboonchi.       Mr. Saboonchi said, by the

22    way, here's one more deal that I did.        Now he ended up

23    getting charged with that transaction as a result of

24    telling Agent Abagnale about it.        But what kind of crazy

25    person would admit all of that if he believed that the




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 1    conduct was illegal?

 2                Mr. Saboonchi was completely forthcoming in his

 3    interview with Agent Abagnale.       Why would he do that?      Why

 4    would he say all of those things if he believed that what

 5    he was doing was illegal.

 6                Well, ladies and gentlemen, when you're

 7    deliberating, I want you to ask yourselves if you can

 8    answer all three of those questions.        Why was

 9    Mr. Saboonchi doing this?      What was his motive?      Why did

10    he keep doing it after that search at the border?          And why

11    did he talk to Agent Abagnale?       If you can't answer all

12    three of those common sense questions, then you should

13    acquit Mr. Saboonchi on all counts.

14                I want to say one more thing about the interview

15    with Agent Abagnale.      Remember that the only record of

16    that interview was Agent Abagnale's memo, which is written

17    in his own words, and the memo contains only what Agent

18    Abagnale chose to include.       Agent Abagnale chose to

19    conduct the interview in English without an interpreter

20    present even though there were interpreters available to

21    assist.

22                You heard Mr. Saboonchi's speak for yourself.

23    It's not very easy to catch every single word that he

24    said.     There is a lot of potential for misunderstanding.

25    And the prosecution was asking you, Agent Abagnale was




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 1    suggesting in his testimony that you can make assumptions

 2    about what Mr. Saboonchi meant.       Mr. Saboonchi said

 3    something about problems with shipments to Iran.          The

 4    prosecution wants you to assume what Agent Abagnale

 5    assumed which is that problems means sanctions.          Well, you

 6    heard from Mr. Saboonchi that what he was referring to was

 7    a whole different kind of problems, lost packages,

 8    shipping delays, problems with customs.         Agent Abagnale

 9    spoke to Mr. Saboonchi for two hours and he never asked

10    him what he meant by problems and he never asked him if he

11    knew that it was illegal to ship products to Iran.           He

12    never asked him any of the questions that matters here.

13                 Ladies and gentlemen, one of the things that

14    Mr. Outlaw asked you to do in the very beginning of this

15    case was to keep in the front of your mind, not in the

16    back of your mind, the fact that Mr. Saboonchi is a whole

17    person.   He's not just a defendant in a criminal case.

18    The government, they didn't even say his name once in the

19    closing argument.     They just called him the defendant

20    because that's how they want you to see him, as the

21    defendant.     They don't want you to see him as a person.

22    They told you we want you to see him as a stack of emails.

23    We think everything you need to know about him is in this

24    stack of emails.

25                 Ms. O'Malley said you only need to look at those




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 1    documents to know everything that you need to know.           Well,

 2    I just don't agree with that.       You only see Mr. Saboonchi

 3    in one context in this courtroom.        You've seen him in two

 4    different chairs.     You've seen him in that one and you

 5    have seen him in the one over there.        But I'm hoping that

 6    through his testimony and through the testimony of people

 7    who know him that you've gotten some kind of a sense of

 8    what kind of person he is.

 9                You heard from Mr. Hessameddi Dahi in our case.

10    He spoke to you about Mr. Saboonchi's work as an

11    electrician.    He told you that Mr. Saboonchi is a very

12    hard worker.    He told you that he's extremely

13    professional.    He talked about the fact that he called

14    upon Mr. Saboonchi to help with an electrical project in

15    his daughter's house and Mr. Saboonchi refused to accept

16    payment for his work.      He told you that he would

17    definitely hire Mr. Saboonchi again.

18                You've heard from Mr. Saboonchi's academic

19    adviser, Dr. Chen.     He told you that Ali was a very nice

20    student, despite his academic troubles.

21                You heard from Dr. Salimian, another adviser of

22    Mr. Saboonchi's.     He told you that Ali is a hard worker,

23    who poured his heart and soul into his work.

24                You heard from Dr. Rahmim, who is a professor

25    and researcher at John Hopkins.       He described




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 1    Mr. Saboonchi as a man of simplicity, integrity and

 2    decency.     He told you that his community was devastated by

 3    the charges against Mr. Saboonchi.

 4                 You also heard from Dr. Richard Dean.       He is the

 5    one who worked at the NSA for 30 years with cryptology.

 6    He now works at Morgan State where Mr. Saboonchi and his

 7    wife attend school.     He told you that he has observed

 8    Mr. Saboonchi being a respectful and caring and loving

 9    father.    He told you that he is a man of high integrity.

10                 To the prosecution, he's just the defendant.

11    They don't want you to think about any of that.          They

12    don't want you to think any deeper or any harder than the

13    book of emails that they have spent hours and days and

14    months and years putting together.        But that's just not

15    right.     Mr. Saboonchi deserves more of your consideration

16    than that.

17                 The prosecution is asking you to filter the

18    evidence through these two lenses, the law enforcement

19    lens and the familiar lens.       That's the only way that

20    their case holds together.       They told you almost nothing

21    about Mr. Saboonchi as a person.        They've told you almost

22    nothing about what other people think of him.          They called

23    no witnesses who know him except for Mr. Nejati and Mr.

24    Gross.     I think that after sitting here for two weeks that

25    you can see a bigger picture than that.




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 1                Mr. Outlaw asked you at the very beginning to

 2    set aside any prejudices that you might have and to view

 3    Mr. Saboonchi as a whole person and that's what I'm asking

 4    you to do right now, too, as you deliberate.          I know it's

 5    a lot to ask, but it's what Mr. Saboonchi deserves.           It's

 6    what his wife, Saeideh, deserves and it's what his son,

 7    Hussein, deserves.       And I'm confident, ladies and

 8    gentlemen, that if you can do that, you will find that

 9    Mr. Saboonchi is not guilty of all of the conduct that is

10    charged.    I want to thank you very much for your time and

11    attention and I want to thank you now for the work that I

12    know you're going to be doing in the coming time.

13                THE COURT:    All right.    Thank you, Ms. Oyer.        I

14    think we're going to give you a ten-minute break and

15    you're going to come back here at 12 minutes after.

16    You've listened for a long time.        Our court reporter has

17    been typing for a long time.       And then we'll have the

18    final portion which is the final statement from the United

19    States.    Please don't discuss your testimony.        Ten-minute

20    break.

21                (Jury excused.)

22                THE COURT:    Ms. Manuelian, just an estimate of

23    how much time you think you are going to need?

24                MS. MANUELIAN:     I was going to take a half-hour

25    or less, Your Honor.




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 1                THE COURT:    Okay.

 2                MS. MANUELIAN:    Will that work with your

 3    schedule?

 4                THE COURT:    I just want to make sure I know for

 5    timing purposes.     I think a half-hour or less would be

 6    fine.   All right.

 7                (Recess.)

 8                THE COURT:    Bring the jury in now.      Everybody,

 9    have a seat.

10                (Jury present.)

11                THE COURT:    Okay.   All right.    Ladies and

12    gentlemen, have a seat and be comfortable, please.

13    Ms. Manuelian, do you have rebuttal statement, ma'am?

14                MS. MANUELIAN:    Yes, Your Honor.     Thank you.

15                You know, ladies and gentlemen, when the

16    evidence is stacked against you and the clear-cut

17    documentation of your words and your actions are laid out

18    in all of your emails and chats over a course of time when

19    you have no idea that you will subsequently -- that you're

20    being watched or that at some point in time law

21    enforcement might see what you have written and that

22    you're the focus of an investigation and it is not

23    uncommon for the defense to come before you and argue that

24    it's the government's fault, there's a conspiracy by the

25    government to hide things from you, the agents are not




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 1    doing their jobs.     It's not an uncommon argument.

 2                And it's interesting to listen to Ms. Oyer argue

 3    before you that Ms. Baird is at fault, the companies that

 4    the products -- that sold the products to the defendant

 5    are at fault, Agent Abagnale is hiding stuff from you,

 6    things should have been told to the defendant by law

 7    enforcement that weren't.      And at no point in time did she

 8    ever confront the evidence that has been put before you.

 9    And the reason for that is because there is no explanation

10    for what was done by the defendant in this particular

11    case.   He himself was unable to give you explanations

12    because there's just so much evidence of his actions,

13    there's just no way to explain it at all or explain it

14    away or explain it all to you.       He tried.    He desperately

15    tried when he took the stand to try and give you some

16    explanation, but you'd have to check your common sense at

17    the door to be able to believe anything that he said.

18                The defendant came before you and he admitted to

19    the following:     He admitted that he lied to the companies

20    he attempted to obtain products from and you heard the

21    evidence of those companies, PGS, Mr. Timiroas' company,

22    Microstrain, the transaction with Mr. Hosseyni, Radeico,

23    the BG 300 manufacturer that he couldn't obtain cartridges

24    from until he went to Frham.       He admitted that he lied to

25    all of those other companies whose products he did obtain




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 1    or help to obtain that were ultimately exported or ended

 2    up in Iran which he knew to be the destination where these

 3    products were going.      He admitted that he lied about who

 4    the true users of these products would be.         In other

 5    words, that they were going to be individuals in Iran and

 6    companies with which those individuals were associated

 7    with.   He knew that Mr. Rashti had Iranian clients.          He

 8    knew that Mr. Hosseyni had an Iranian client.          He knew

 9    information that he never revealed to any of the

10    companies.     They were never told who the ultimate end

11    users were.

12                 It was Mr. Saboonchi who had the knowledge.           He

13    was the individual who was exporting the product.          He was

14    the individual who was arranging for it to be sent out of

15    the country.     And in those instances where he shipped the

16    products, he had the obligation to comply with the law.

17                 And as Ms. Harvey told you from Collins, they

18    shipped that particular product out of the country.           And

19    had she put in information that this product was going to

20    Iran, she would not have been able to have shipped the

21    product.     And that's precisely what the defendant knew

22    throughout the entirety of this conspiracy and that's

23    precisely why he took the actions that he did to try and

24    hide this information from the companies that he dealt

25    with.




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 1                He came here and he told you that he lied about

 2    the ultimate destination of the products by telling

 3    people, oh, they're going to the UAE for customers there

 4    or they're going to Turkey or they're going to China.

 5    Sometimes he couldn't keep his story straight like when he

 6    had the instance in which he told Rosemount/Emerson that

 7    the customer was domestic and then after consulting with

 8    Mr. Rashti, he messed up and said oh, no, the customer is

 9    in Turkey and then Mr. Rashti had to say, oh, wait a

10    minute, don't tell them if it's domestic and then tell

11    them that it's Turkey, you have to stick with one or the

12    other.    This was early on when Mr. Saboonchi was

13    attempting to get this whole business off the ground with

14    Mr. Rashti.

15                He never told the companies, by the way, I'm

16    purchasing these products because they are going to be

17    delivered in Iran and I'm helping my friends and

18    associates out there to get the products transhipped

19    through these other countries.       He never once mentioned

20    that.    Why is that?   Because he knew that if he said that,

21    he would never get these products and he would never be

22    able to get them to Iran if he shipped them there

23    directly.

24                He lied or he told you that he lied on the

25    invoices that he put together with Mr. Rashti or on his




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 1    own that were provided for the shipment of the items

 2    overseas.     He admitted that he under-valued the products

 3    he purchased.

 4                And okay.   So say -- let's just accept his

 5    explanation that this was for avoiding customs duties.

 6    He's telling you that he's okay with violating the law

 7    whether it's customs duties or not.        But what do the

 8    under-valuing of these items do?        They also help keep

 9    these transactions under the radar.        It's part and parcel

10    of things that someone does to try and conceal what

11    they're doing from the people and the companies they're

12    dealing with and ultimately, from law enforcement.

13                The defendant has shown himself to have a

14    general lack of regard for the law.        That's what you can

15    take away from his testimony in this courtroom.           If he

16    thinks the bureaucracy is something that's too cumbersome,

17    he's pretty much told you that he feels he can ignore the

18    law.     It's just simpler.   If he thinks that the laws are

19    "bogusly complicated", you may remember that quotation

20    from his conversation with Mr. Rashti in Exhibit 21, he's

21    not going to waste his time getting to learn what he needs

22    to do to follow the law.      If he thinks the process is

23    corrupt in whatever country it is that he's dealing with,

24    then why bother following the law?        It's corrupt.    So who

25    cares?     So it's okay for him to disobey the law.




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 1                He told you in his testimony he has no regard

 2    for the laws in China, for the laws in the UAE, for the

 3    laws in Iran.    He has decided that he can do whatever he

 4    wants to do.    He told that to Agent Abagnale.        He

 5    essentially feels that as an American citizen, he should

 6    be able to sell to whoever he wants, however he wants.

 7                What does that say about the defendant's

 8    character, ladies and gentlemen?        It's certainly clear

 9    that all these character witnesses who came to testify for

10    him have absolutely no clue of who he really is.            They

11    don't know about his unlawful conduct.         Why would they?

12    They're not his conspirators, co-conspirators.          They're

13    not his criminal associates.       They don't know about his --

14    clearly, they don't know about his export business.            It's

15    fine, you know, to say, well, you know, we think he's a

16    nice guy, he's a good friend, he's a good father, he's a

17    good husband.    But that's not what you are here to

18    consider, ladies and gentlemen.

19                You might recall that none of these witnesses

20    who came to testify in the defendant's behalf actually

21    used the word "honesty."      They talked about his

22    "integrity."    But can you believe their assessment of him

23    when he came in here and admitted to you that he's a liar?

24                The bottom line, ladies and gentlemen, is it's

25    clear from the defendant's own words not only in all of




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 1    these emails and chats that were seized and have been

 2    presented to you for your consideration, but by the own

 3    words and actions -- his own words here in the courtroom,

 4    that if anything suits his purposes to help his friends or

 5    to help himself, he will do so.       He will evade the law and

 6    will do so by not telling the truth.

 7                So ask yourselves if the defendant can so freely

 8    come here and fabricate information and misrepresent the

 9    truth or admit that he freely fabricates and misrepresents

10    the truth to the outside world when he's not charged with

11    crimes or under the specter of charges, criminal charges

12    against him, what does that say about his ability to be

13    truthful when he appears before you, the jury, who have

14    presented, been presented with overwhelming evidence of

15    his guilt and his criminal conduct.

16                The government is not asking you, as Ms. Oyer

17    suggests, to look at the evidence under filters.          In fact,

18    it's Ms. Oyer who is telling you that you should look at

19    the evidence under the filter of the defendant's Iranian

20    customs and background.      You need to look at this evidence

21    for what it is.     You don't check your common sense at the

22    door when you become a juror.       You have to look at this

23    from your own experiences and background.         You have to

24    assess what you believe to be truthful, what you believe

25    to be evidence of the defendant's knowing and willful




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 1    conduct.    And what the government has presented to you is

 2    evidence taken from the defendant's emails, taken from his

 3    chats, taken from other evidence that we were able to

 4    piece together during an investigation, not because we're

 5    piecing together a story we want you to believe, but

 6    because we're presenting you with the evidence that was

 7    found.

 8                Let's take the logic of the defendant's

 9    argument, if you can call it logic.        Essentially, he says

10    to you, well, I know that I can't send stuff from the

11    United States to Iran.      But it's okay for me to do it to

12    UAE or Dubai.    I can't go from A to C, but I can go from

13    B -- to point B.     Well, first of all, you have to

14    recognize in that sort of framework that he's already

15    recognized that it's illegal to send products from the

16    United States to Iran and he is essentially saying to you

17    I'm just the middle man and it doesn't matter what I do.

18    But then you have to compare that with all the things he

19    does to try and hide what he's doing.

20                Well, why is he telling people I'm only sending

21    to the UAE.     Why is he telling people that let me find out

22    from my -- you know, why is he going to his

23    co-conspirators to find out, okay, what do you want me to

24    put down here so essentially we can cover our tracks?           I

25    mean if somebody leaves their store unlocked, does that




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 1    mean you have the right to go in and rob it?          If the

 2    getaway driver is sitting outside when there's a bank

 3    robbery and he drives away the folks who are robbing the

 4    bank who went inside the store, is he absolved of criminal

 5    responsibility?     Of course not.    He's doing the bank

 6    robbery just like the guys who actually went in the store

 7    and pointed the gun at the bank tellers.

 8                There's no difference here in terms of the fact

 9    that this defendant was providing services and assisting

10    people in Iran.     Even if you don't believe that the

11    exports themselves, that he genuinely misunderstood the

12    law and felt that he could send items to other countries

13    even though he knew they were going to Iran, he was

14    providing services to people in Iran here in the U.S.            And

15    I encourage you to take a look at the instruction as to

16    the definition of services and the definition of exports.

17    He is guilty of that conduct regardless of whether or not

18    you believe that an export actually took place.

19                Just because the defendant comes here and tells

20    you, oh, I did not intend to violate the law does not make

21    it so, ladies and gentlemen.       It is you, the jury, that

22    decides that.     It's you, the jury, that has to decide if

23    he intended to violate the law.       It is you, the jury, that

24    has to decide his knowledge and his willfulness.          It's

25    you, the jury, that has to decide if he acted with intent




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 1    to disobey or disregard the law.        And it's you, the jury,

 2    that has to determine whether or not he "misunderstood"

 3    the law, whether he knowingly and willfully closed his

 4    eyes to the obvious.

 5                Is he coming in here and telling you I did not

 6    intend to break the law?      Is that a truthful telling of

 7    his state of mind at the time these events were occurring?

 8    Absolutely not, ladies and gentlemen.        He's had 18 months

 9    to think about what it is he's going to say before you

10    since he's been arrested.      He has had 18 months to look

11    over whatever the government's evidence is to try and

12    figure out whatever excuse he can come up with to try and

13    convince you that he did not know that it was illegal to

14    tranship items from the United States to Iran.

15                And we don't have to prove, as Ms. O'Malley

16    pointed out to you and as Ms. Oyer conceded that he knew

17    he was violating a particular statute or a regulation or

18    the OFAC.    We don't have to show that he consult -- or did

19    or didn't consult the OFAC website.        Those are just pieces

20    of evidence that you can consider when you're evaluating

21    what his knowledge was when he's provided over and over

22    again with export warnings, some of which are in very

23    small print granted, some of which are actually very

24    boldly placed on some of the emails that he received.

25    When he's provided over and over again with indicators




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 1    from communications, direct communications with company

 2    representatives that there are problems exporting things

 3    to Iran, when he is given access or links to a website by

 4    his own friend about sanctions against Iran, regardless of

 5    whether it's just Iran Air or not, when he is advised by

 6    law enforcement agents, you know, you really need to take

 7    a look at this OFAC website, regardless of whether --

 8    whatever the specifics were of that conversation whether

 9    they specifically told him you can't export or whether

10    they simply said you need to consult OFAC and he decides

11    to close his eyes to that, he's still guilty -- has guilty

12    knowledge under the standard of what is knowing and

13    willful conduct.     That is what you have to look at.

14                And, ladies and gentlemen, given the evidence

15    that's been presented in this case, I don't think -- I

16    submit to you that there isn't any question here that the

17    defendant knew exactly what he was doing.         He knew that he

18    had to conceal the fact that he was helping to get these

19    items to Iran.     But even if you believe, you give him the

20    benefit of the doubt and you say all right, so maybe he

21    didn't know and he was confused, he closed his eyes to the

22    obvious and that is still knowing and willful conduct.

23                In the end, ladies and gentlemen, the defendant

24    was the ultimate shipper in this case.         He knew exactly

25    what would happen if items were shipped directly to Iran




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 1    after he received the products he ordered.         He was the

 2    person with the knowledge.       He was the person who

 3    intentionally withheld information because he knew that if

 4    he provided information, he could not get what he wanted.

 5                And this issue with his reading of English, you

 6    saw him here in the courtroom.       He was reading English

 7    right off of the screen.      Farsi documents would be handed

 8    to him.   He would look at them and then he would turn to

 9    the screen and he would read the English.

10                The defendant said he didn't visit any websites

11    to research export law or open the links to any websites

12    that anybody sent him that had anything to do with export.

13    Is that a believable statement?       He acknowledged that he

14    was researching on Google.       He acknowledged that he

15    opened, you know, that he looked at websites to be able to

16    order these products from various companies.          He obviously

17    was facile with the computer.       He is chatting online.

18    He's engaging in Ebay transactions, multiple Ebay

19    transactions while he's conversing with Mr. Naghshineh.

20    He knows how to use a computer.       He knows what he needs to

21    do to research websites.      He did that when he was trying

22    to form his company in Maryland when he looked up the

23    Department of State website.       He knew what he had to do.

24    He deliberately closed his eyes to it.

25                Frankly, ladies and gentlemen, I would submit to




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 1    you it's not believable that he didn't try to find out

 2    what the law was.     But it is extremely evident that he did

 3    not research -- he did not look to make sure that he

 4    couldn't do what he tried to do -- that he could do what

 5    he tried to do.     He closed his eyes to the obvious.        Why

 6    should he go down that path?       Because this way, he can

 7    keep his fingerprints off of it.

 8                And yes, Ms. Oyer says, well, there's no direct

 9    evidence that he clicked on a website.         Well, first of

10    all, again, the government doesn't have to show that he

11    had knowledge of the specific regulations.         But the

12    circumstantial evidence that you have of his words and

13    actions, the inferences, the reasonable inferences that

14    you can draw from them is that he likely did investigate,

15    he likely did know and he chose to ignore it.          We also

16    know that he worked on computers while he was at school.

17                The defendant never mentioned -- remember he

18    told you he never mentioned Iran in his communications

19    when he was asked about, well, what's going on with the

20    I*R*A*N conversations with I believe it was Mr. Hosseyni

21    if I'm correct or Mr. Mohammadi.        And he said, well, I

22    never mentioned Iran in my communications.         Well, gee, why

23    is that?    Because he's afraid that if he mentions Iran

24    himself, that he is going to bring focus upon himself at

25    some point in time.     He's trying to avoid having his




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 1    fingerprints on anything.

 2                 I submit, ladies and gentlemen, that in the end,

 3    the question here is not about -- the issue is not about

 4    money.    It wasn't about him getting into business because

 5    he needed to raise some funds.       It wasn't about charging

 6    his friends to be able to assist them in doing -- in

 7    getting things to them.      It wasn't about forming a

 8    company, being an electrician, having a business on the

 9    side.    What it was about was loyalty.      And the defendant

10    himself acknowledged in his own statement to Agent

11    Abagnale that Iran is his home.       His family is there.      His

12    friends are there.     That is where he grew up.       This case

13    is about his loyalty, his loyalty to helping his friends

14    back home get things they couldn't otherwise get and he

15    violated the law doing that.

16                 He was born in this country, ladies and

17    gentlemen.     He's an American citizen.     We are a nation

18    that provides great opportunities and freedoms to everyone

19    who comes here, everyone who's born here, everyone who

20    grows up here.     But we're also a nation of laws.       And none

21    of us, the defendant included, gets to choose what laws we

22    want to follow.     None of us get to close our eyes to the

23    obvious or avoid and evade the law because it's just

24    simpler or more convenient or because we want to help our

25    friends because we're nice people.        If the defendant did




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 1    not already know the obvious restrictions against his

 2    conduct and the evidence in this case suggests

 3    overwhelmingly that he did, he had the ability to find out

 4    what he could or could not do.       He chose not to and he did

 5    so knowingly and willfully.

 6                 In the end, we don't have to prove that he read

 7    the regulations.     We don't have to prove that he looked at

 8    a website.     We just have to prove that his conduct was

 9    unlawful.     And I submit to you, ladies and gentlemen, that

10    when you deliberate and review the overwhelming evidence,

11    not under any filters, not under the filters of Iranian

12    customs, not under the filters of American customs, under

13    the filter if you can call it that, which it isn't, it's

14    your common senses.       Under the review of the facts fairly

15    and impartially that you will come to the same conclusion

16    that I suggested you would find when I first spoke to you

17    at the beginning of this case and that is the defendant

18    knowingly and willfully violated the law and that law

19    being the Iranian Trade Embargo, sending items and

20    providing services to Iran.       And you will agree that the

21    government has proven its case beyond a reasonable doubt.

22    Thank you.

23                 THE COURT:   Thank you, Ms. Manuelian.      All

24    right.   Ladies and gentlemen of the jury, it is almost

25    4:00 on a Friday afternoon.       We are going to let you go




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 1    into the jury deliberation room.         My suggestion to you is

 2    that you perhaps this afternoon pick your foreperson and

 3    then go home for the weekend and come back and deliberate

 4    on Monday.     You have a lot of information to consider.

 5    It's late in the afternoon on a Friday afternoon and you

 6    have to pick a foreperson and I would strongly recommend

 7    that you do that and we will get you into the jury

 8    assembly room so that you can begin that process.

 9                 For our alternate, we will have you -- have your

10    contact information.      You will not go into the jury room

11    when they go in to deliberate.         We certainly thank you for

12    your attention for the last two weeks and if an issue

13    arises that we need to have you come in, we will give you

14    a call.

15                 So with that in mind, can we have the CSO sworn

16    in?

17                 THE CLERK:   Yes, we do.    Please raise your right

18    hand.

19                 (The court security officer was sworn.)

20                 THE CLERK:   Please state your full name for the

21    record.

22                 COURT SECURITY OFFICER:     CSO James Witt.

23                 COURT SECURITY OFFICER:     CSO John Cassidy.

24                 THE CLERK:   Thank you.

25                 THE COURT:   Gentlemen, thank you for your help.




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 1                (The jury was excused to commence

 2    deliberations.)

 3                THE COURT:     All right.    Everybody, thanks for

 4    your hard work.     The lawyers, I know it's been an arduous

 5    couple of weeks and it's in the hands of the jury now.              So

 6    we will be back on Monday morning.

 7                MR. OUTLAW:     Your Honor, can we approach just

 8    quickly on one?     I understand it's kind of usual.       But I

 9    don't want to do it openly.        I just want to do it at the

10    bench.

11                THE COURT:     Come on up.

12                (Bench conference:)

13                MR. OUTLAW:     I don't take this step lightly, but

14    feel compelled that I need to do that and that's just kind

15    of lodge an objection.       I feel that the statements that

16    Mr. Saboonchi somehow has a loyalty to Iran, I think that

17    kind of crosses the line and makes an appeal that I think

18    is improper and I just wanted to put that on the record.

19                THE COURT:     Okay.   Anything you want to say in

20    response?

21                MS. MANUELIAN:     Your Honor, I think I kept my

22    statements to the defendant's admissions and his testimony

23    about having lied.       He was asked directly in that --

24    properly said it in direct and I think I asked him

25    repeatedly in cross-examination and he acknowledged that




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 1    he lied.    So I didn't say that he lied here to you, to the

 2    jury.    It's for them to decide.       But I think I directed my

 3    statements to his admissions during his examination on the

 4    stand.

 5                THE COURT:     All right.     Well, it's a matter of

 6    record and we can deal with it as we need to deal with it

 7    after this.    Okay.     All right.     It was hard work.   You all

 8    did an excellent job and that's what the adversary system

 9    is about and you all are to be commended for the work that

10    you did.    It was superb.     Thank you.

11                (Proceedings concluded.)

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 1                            CERTIFICATE OF REPORTER

 2

 3                I, Lisa K. Bankins, an Official Court Reporter

 4    for the United States District Court for the District of

 5    Maryland, do hereby certify that I reported, by machine

 6    shorthand, in my official capacity, the proceedings had

 7    and testimony adduced upon the trial in the case of the

 8    United States of America versus Ali Saboonchi, Criminal

 9    Action Number PWG-13-0100, in said court on the 8th day of

10    August, 2014.

11              I further certify that the foregoing 150 pages

12    constitute the official transcript of said proceedings, as

13    taken from my machine shorthand notes, together with the

14    backup tape of said proceedings to the best of my ability.

15              In witness whereof, I have hereto subscribed my

16    name, this 15th day of October, 2014.

17

18

19                                       Lisa K. Bankins

20                                       Lisa K. Bankins
                                         Official Court Reporter
21

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